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                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE


         In re:                                                  Chapter 11

         DAVID’S BRIDAL, INC., et al.,1                          Case No. 18- 12635 (LSS)

         Debtors.                                                Jointly Administered

                                                                 RE: Docket Nos. 12, 13, and 248


               FINDINGS OF FACT, CONCLUSIONS OF LAW, AND ORDER (I) APPROVING
              DEBTORS’ (A) DISCLOSURE STATEMENT (B) SOLICITATION OF VOTES AND
              VOTING PROCEDURES AND (C) FORM OF BALLOTS, AND (II) CONFIRMING
             JOINT PREPACKAGED CHAPTER 11 PLAN OF REORGANIZATION OF DAVID’S
                            BRIDAL, INC. AND ITS AFFILIATED DEBTORS

                                                             RECITALS

                       I.    On November 19, 2018, the above-captioned debtors and debtors in possession

         (collectively, the “Debtors”), as “proponents of the plan” within the meaning of section 1129 of

         title 11 of the United States Code, 11 U.S.C. §§ 101-1532 (the “Bankruptcy Code”), filed (i) the

         Debtors’ Proposed Joint Prepackaged Plan of Reorganization Under Chapter 11 of the

         Bankruptcy Code, dated November 18, 2018 (as amended, supplemented and modified,

         including as modified by the Plan Modifications (as defined below), the “Plan”)2 and (ii) the

         Disclosure Statement for Joint Prepackaged Chapter 11 Plan of Reorganization of David’s

         Bridal, Inc. and Its Affiliated Debtors, dated November 18, 2018 [Docket No. 13] (the

         “Disclosure Statement”).


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                The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number,
                are: David’s Bridal, Inc. (4563); DB Investors, Inc. (8503); DB Holding, Inc. (4567); and DB Midco, Inc.
                (3096). The location of the Debtors’ corporate headquarters is 1001 Washington Street, Conshohocken,
                Pennsylvania 19428.
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                Unless otherwise defined herein, capitalized terms shall have the meanings ascribed to them in the Plan (as
                defined herein). The rules of construction in section 102 of the Bankruptcy Code shall apply to this Order.

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                  II.    On November 20, 2018, the Bankruptcy Court entered an order [Docket No. 95]

         (the “Scheduling Order”), which (i) scheduled a combined hearing (the “Combined Hearing”)

         to consider (a) the adequacy of the Disclosure Statement and the Debtors’ solicitation procedures

         used in connection with the solicitation of votes to accept or reject the Plan (the “Solicitation

         Procedures”) and (b) confirmation of the Plan, (ii) established procedures for objecting to the

         Disclosure Statement, the Solicitation Procedures and confirmation of the Plan, (iii) approved the

         Assumption Notice (as defined in the Scheduling Order), and related objection procedures for the

         assumption of executory contracts and unexpired leases and associated Cure Amounts,

         (iv) deemed the Combined Notice (as defined below), which included, among other things,

         information with respect to the commencement of these Chapter 11 Cases (as defined below) and

         the deferral of the meeting of creditors and equity holders pursuant to section 341(a) of the

         Bankruptcy Code (the “Section 341(a) Meeting”) to be good and sufficient notice of the

         Combined Hearing and that no further notice need be given; (v) extended the time for (x) the

         Debtors to convene the Section 341(a) Meeting and waived the requirement that the Debtors

         convene the Section 341(a) Meeting unless the Plan is not confirmed on or before February 4,

         2019, and (y) the Debtors to file their schedules of assets and liabilities and statements of

         financial affairs (collectively, the “Schedules and Statements”) and waived the requirement that

         the Debtors file the Schedules and Statements unless the Plan is not confirmed on or before

         February 4, 2019; and (vi) granted related relief.

                 III.    Prior to the Petition Date, appropriate ballots for voting on the Plan (the

         “Ballots”), in the forms attached as Exhibits B-1, B-2, and B-3 to the Scheduling Order, were

         transmitted to holders of Claims in Class 4 (Prepetition Term Loan Claims) and Class 5

         (Unsecured Notes Claims), respectively, in compliance with the Solicitation Procedures as set


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         forth in the Affidavit of Service of Jung W. Song, filed on December 11, 2018 [Docket No. 165]

         (the “Solicitation Affidavit of Service”).

                 IV.    On December 11, 2018, the Debtors filed the initial version of the Plan

         Supplement [Docket No. 167], and on December 28, 2018, the Debtors filed a Notice of Filing of

         Supplements to Plan Supplement in Connection with the Proposed Joint Prepackaged Plan of

         Reorganization Under Chapter 11 of the Bankruptcy Code [Docket No. 255], which contained

         documents supplementing or amending the Plan Supplement.

                 V.     On December 28, 2018, the Debtors filed a Notice of Filing of Blacklines for

         Revised Proposed Joint Prepackaged Plan of Reorganization Under Chapter 11 of the

         Bankruptcy Code [Docket No. 249], which contains technical amendments to the Plan and

         includes the Plan Modifications. The Plan, as revised, is annexed hereto as Exhibit 1.

                 VI.    On December 28, 2018, the Debtors filed (i) the Debtors’ (1) Memorandum of

         Law in Support of (I) Approval of (A) Disclosure Statement, (B) Solicitation of Votes and Voting

         Procedures, and (C) Form of Ballots, and (II) Confirmation of Joint Prepackaged Chapter 11

         Plan of Reorganization of David’s Bridal, Inc. and its Affiliated Debtors and (2) Omnibus Reply

         to Objections Thereto [Docket No. 251] (the “Confirmation Memorandum of Law”), (ii) the

         Declaration of Stephen Goldstein in Support of Confirmation of the of the Debtors’ Joint

         Prepackaged Plan of Reorganization under Chapter 11 of the Bankruptcy Code (the “Goldstein

         Confirmation Declaration”), dated December 28, 2018 [Docket No. 252], (iii) the Declaration

         of Carrianne J.M. Basler in Support of Confirmation of the Debtors’ Joint Prepackaged Plan of

         Reorganization under Chapter 11 of the Bankruptcy Code (the “Basler Confirmation

         Declaration”), dated December 28, 2018 [Docket No. 250], and (iv) the Declaration of Jung W.

         Song on Behalf of Donlin, Recano & Company, Inc. Regarding Solicitation of Votes and


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         Tabulation of Ballots Accepting and Rejecting Proposed Joint Prepackaged Plan of

         Reorganization Under Chapter 11 of the Bankruptcy Code, filed on December 28, 2018 [Docket

         No. 247] (the “Voting Certification”).

                VII.     On January 3, 2019, the Debtors filed the Notice of Filing of Additional

         Supplements to Plan Supplement in Connection with the Proposed Joint Prepackaged Plan of

         Reorganization Under Chapter 11 of the Bankruptcy Code [Docket No. 267], which contained

         additional documents supplementing the Plan Supplement.

                VIII.    On January 4, 2019, the Bankruptcy Court held the Combined Hearing after due

         and sufficient notice was given in accordance with the Scheduling Order, the Bankruptcy Code,

         the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and the Local Rules of

         Bankruptcy Practice and Procedure for the United States Bankruptcy Court for the District of

         Delaware (the “Local Rules”), in each case established by the affidavits of service, mailing or

         publication filed with the Bankruptcy Court, including (1) the Affidavit of Service of Jennifer S.

         Goode regarding service of the Combined Notice (as defined below) [Docket No. 153],] (2) the

         Solicitation Affidavit of Service, (3) the Affidavit of Publication of Notice of Commencement of

         Cases Under Chapter 11 of the Bankruptcy Code and Summary of Joint Prepackaged Chapter

         11 Plan and Notice of Hearing to Consider (a) Adequacy of Disclosure Statement and

         Solicitation Procedures (b) Confirmation of Plan of Reorganization and (c) Related Materials

         [Docket No. 222], (4) Notice of Service Regarding Customer Notice [Docket No. 151],

         (5) Affidavit of Service of Edward A. Calderon regarding service of the notice of the Plan

         Supplement [Docket No. 169], (6) the Affidavit of Service of Sung Kim regarding service of,

         among other things, the Notice of Supplements to Plan Supplement, the Voting Certification, the

         notice of filing of blacklines relating to the Plan, the Confirmation Memorandum of Law and the


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         Basler Confirmation Declaration, the Goldstein Confirmation Declaration [Docket No. 258]

         (collectively, the “Notice Affidavits”).

                 IX.    NOW THEREFORE, based upon the Bankruptcy Court’s review of the Plan

         (including the Plan Supplement), the Disclosure Statement, the Solicitation Affidavit of Service,

         the Voting Certification, the Notice Affidavits, the Confirmation Memorandum of Law, the

         Goldstein Confirmation Declaration, the Basler Confirmation Declaration and the Declaration of

         Joan Hilson in Support of the Debtors’ Chapter 11 Petitions and First-Day Relief [Docket No.

         19], filed on November 19, 2018, and upon the entire record of the Combined Hearing; and upon

         the arguments of counsel and the evidence proffered and adduced at the Combined Hearing; and

         the Bankruptcy Court having found and determined that the Disclosure Statement and the

         Solicitation Procedures should be approved and the Plan should be confirmed as reflected by the

         Bankruptcy Court’s rulings made herein and at the Combined Hearing; and after due deliberation

         and sufficient cause appearing therefor; the Bankruptcy Court hereby issues the following

         findings of fact and conclusions of law:

                            FINDINGS OF FACT AND CONCLUSIONS OF LAW

                A.      Jurisdiction, Venue, Core Proceeding (28 U.S.C. §§ 157(b)(2), 1334(a)). The

         Bankruptcy Court has jurisdiction over the Chapter 11 Cases pursuant to 28 U.S.C. §§ 157 and

         1334, and the Amended Standing Order of Reference from the United States District Court for

         the District of Delaware, dated February 29, 2012. Approval of the Disclosure Statement and the

         Solicitation Procedures and confirmation of the Plan are core proceedings pursuant to 28 U.S.C.

         § 157(b) and the Bankruptcy Court has jurisdiction to enter a final order with respect thereto.

         The Debtors are eligible debtors under section 109 of the Bankruptcy Code. Venue is proper

         before the Bankruptcy Court pursuant to 28 U.S.C. §§ 1408 and 1409. The Debtors are proper

         plan proponents under section 1121(a) of the Bankruptcy Code.
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                B.      Chapter 11 Petitions. On November 19, 2018 (the “Petition Date”), each Debtor

         commenced with the Bankruptcy Court a voluntary case under chapter 11 of the Bankruptcy

         Code (the “Chapter 11 Cases”). The Debtors are authorized to continue to operate their

         business and manage their properties as debtors in possession pursuant to sections 1107(a) and

         1108 of the Bankruptcy Code. No trustee or examiner has been appointed in the Chapter 11

         Cases pursuant to section 1104 of the Bankruptcy Code. No statutory committee of unsecured

         creditors has been appointed in the Chapter 11 Cases pursuant to section 1102 of the Bankruptcy

         Code. Further, in accordance with an order of the Bankruptcy Court, the Chapter 11 Cases are

         being jointly administered pursuant to Bankruptcy Rule 1015(b).

                C.      Burden of Proof.    The Debtors have the burden of proving the elements of

         sections 1129(a) and 1129(b) of the Bankruptcy Code by a preponderance of the evidence. In

         addition, and to the extent applicable, the Plan is confirmable under the clear and convincing

         evidentiary standard. As set forth herein, the Debtors have met such burden.

                D.      Adequacy of Disclosure Statement.        The Disclosure Statement (a) contains

         adequate information of a kind generally consistent with the disclosure requirements of all

         applicable non-bankruptcy law, including the Securities Act of 1933, 15 U.S.C. §§ 77a-77aa (as

         amended from time to time, the “Securities Act”), (b) contains “adequate information” (as such

         term is defined in section 1125(a)(1) and used in section 1126(b)(2) of the Bankruptcy

         Code) with respect to the Debtors, the Plan and the transactions contemplated therein, and (c) is

         approved in all respects.

                E.      Solicitation. Before the Petition Date, the Debtors, through their administrative

         agent, Donlin, Recano & Company, Inc. (“DRC”), caused the Plan, the Disclosure Statement

         (which included as exhibits thereto, the Plan and the Restructuring Support Agreement) and the


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         Ballots (collectively the “Solicitation Package”) to be transmitted and served in compliance

         with sections 1125(g) and 1126(b) of the Bankruptcy Code, the Bankruptcy Rules (including

         Bankruptcy Rules 3017 and 3018), the Local Rules, the Scheduling Order, all other applicable

         provisions of the Bankruptcy Code, and all other applicable rules, laws and regulations

         applicable to such solicitation.   As set forth in the Solicitation Affidavit of Service, the

         Solicitation Packages were transmitted to and served on holders of Claims in Class 4 (Prepetition

         Term Loan Claims) and Claims in Class 5 (Unsecured Notes Claims)—the only Classes of

         Claims and Interests entitled to vote to accept or reject the Plan—on November 18, 2018 and

         November 19, 2018 before the commencement of these Chapter 11 Cases. The forms of the

         Ballots adequately addressed the particular needs of these Chapter 11 Cases and were

         appropriate for holders of Class 4 Claims (Prepetition Term Loan Claims) and Class 5 Claims

         (Unsecured Notes Claims), as applicable. The instructions on the Ballots advised parties that for

         a Ballot to be counted, the Ballot must be properly executed, completed and delivered to DRC so

         that it, or the Master Ballot (as defined and described in the Scheduling Motion (as defined

         below)) transmitting such vote, was received by DRC no later than 5:00 p.m. (Prevailing Eastern

         Time) on December 18, 2018 (the “Voting Deadline”), unless such time was extended by the

         Debtors. The period during which the Debtors solicited acceptances of the Plan was a reasonable

         period of time for holders to make an informed decision to accept or reject the Plan. The

         Debtors were not required to solicit votes from the holders of Claims or Interests in Class 1

         (Priority Non-Tax Claims), Class 2 (Other Secured Claims), Class 3 (Prepetition ABL Claims),

         Class 6 (General Unsecured Claims), Class 7 (Intercompany Claims) and Class 8 (Intercompany

         Interests) (collectively, the “Unimpaired Classes”), as each such Class is Unimpaired under the

         Plan and is deemed to accept the Plan. The Debtors also were not required to solicit votes from


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         the holders of Interests in Class 9 (Parent Interests), as such Class will not receive any recovery

         under the Plan and is deemed to reject the Plan. As described in and as evidenced by the Voting

         Certification, the Solicitation Affidavit of Service and the Notice Affidavits, the transmittal and

         service of the Solicitation Package (all of the foregoing, the “Solicitation”) was timely, adequate

         and sufficient under the circumstances and no other or further Solicitation was or shall be

         required.   The Solicitation complied with the Solicitation Procedures, was appropriate and

         satisfactory based upon the circumstances of the Chapter 11 Cases, was conducted in good faith,

         and was in compliance with the provisions of the Bankruptcy Code, the Bankruptcy Rules, the

         Local Rules, the Scheduling Order, and any other applicable rules, laws, and regulations. In

         soliciting votes before the Petition Date, the Debtors properly relied on the applicable

         exemptions from the Securities Act.

                F.      Mailing and Publication of Combined Notice.         On November 21, 2018, the

         Debtors caused to be mailed the Notice of Commencement of Cases Under Chapter 11 of the

         Bankruptcy Code and Summary of Joint Prepackaged Chapter 11 Plan and Notice of Hearing to

         Consider (A) Adequacy of Disclosure Statement and Solicitation Procedures; (B) Confirmation

         of Plan of Reorganization; and (C) Related Materials [Docket No. 105] (the “Combined

         Notice”) to Creditors, holders of Interests and other parties in interest in compliance with the

         Bankruptcy Code, the Bankruptcy Rules, the Local Rules, the Scheduling Order and the

         Solicitation Procedures, on November 27, 2018, the Debtors caused to be emailed a notice to

         customers pursuant to the Bankruptcy Court’s Order (A) Authorizing the Debtors to Honor and

         Pay Prepetition Customer Obligations, (B) Authorizing Financial Institutions to Honor and

         Process Checks and Transfers Related to Such Obligations and (C) Approving Form and

         Manner of Notice to Customers [Docket No. 92], and, on December 13, 2018, the Debtors


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         published a notice substantially similar to the Combined Notice in USA Today. See Notice

         Affidavits [Docket Nos. 151, 153 and 222]. The Debtors have given proper, adequate and

         sufficient notice of the Combined Hearing and the deadlines for filing objections to the

         Disclosure Statement and the Plan, as required by Bankruptcy Rule 3017(a) and (d), Local Rule

         3017-1 and the Scheduling Order. No other or further notice was or shall be required.

                G.      Tabulation Results.        On December 28, 2018, the Debtors filed the Voting

         Certification certifying the method and results of the Ballots tabulated for Class 4 (Prepetition

         Term Loan Claims) and Class 5 (Unsecured Notes Claims). As of the Voting Deadline, 100% in

         amount and 100% in number of holders of Claims in Class 4 (Prepetition Term Loan Claims)

         that voted on the Plan by the Voting Deadline and approximately 99.16% in amount and 96.72%

         in number of holders Class 5 (Unsecured Notes Claims) that voted on the Plan by the Voting

         Deadline voted to accept the Plan. Accordingly, pursuant to section 1126 of the Bankruptcy

         Code, the Bankruptcy Court finds that Class 4 (Prepetition Term Loan Claims) and Class 5

         (Unsecured Notes Claims) each accepted the Plan. All procedures used to tabulate the Ballots

         were fair, reasonable and conducted in accordance with the applicable provisions of the

         Bankruptcy Code, the Bankruptcy Rules, the Local Rules, the Scheduling Order and all other

         applicable rules, laws and regulations.

                H.      Separate Chapter 11 Plan. The Plan is a separate chapter 11 plan for each of the

         Debtors. Except as otherwise expressly provided in this Order, any reference in the Plan or this

         Order to the Effective Date, the Confirmation Date or the Confirmation Hearing, shall be

         applicable to and have the meanings ascribed to them as it relates to each particular Debtor and

         the Plan for such Debtor. This Order shall be a separate Order with respect to each of the

         Debtors in each Debtor’s separate Chapter 11 Case.


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                I.        Plan Supplement. The Debtors have filed the Plan Supplement, consisting of the

         following: (i) term sheet for Exit ABL Facility Credit Agreement, (ii) term sheet for Priority Exit

         Facility Credit Agreement, (iii) term sheet for Takeback Term Loan Credit Agreement, (iv) form

         of Amended Organizational Documents for DB Investors, Inc., (v) form of New Stockholders’

         Agreement, (vi) form of Warrant Agreement, (vii) list of Retained Causes of Action and (viii)

         information required to be disclosed under 1129(a)(5) of the Bankruptcy Code. The filing and

         notice of such documents was good and proper under the circumstances and in accordance with

         the Bankruptcy Code, the Bankruptcy Rules, the Local Rules, the Scheduling Order and all other

         applicable rules, laws and regulations, and no other or further notice is or shall be required. All

         documents included in the Plan Supplement are integral to, part of, and incorporated by reference

         into the Plan.     The Debtors reserve the right to alter, amend, update or modify the Plan

         Supplement and any schedules, exhibits or amendments thereto, prior to the Effective Date in

         accordance with the terms of the Plan and the Restructuring Support Agreement and subject to

         the terms of this Order.

                J.        Modifications of the Plan. Pursuant to and in compliance with section 1127 of the

         Bankruptcy Code and Bankruptcy Rule 3018, the Debtors proposed certain modifications to the

         Plan as reflected herein or in modified or revised versions of the Plan and the Plan Supplement

         filed with the Bankruptcy Court before entry of this Order (collectively, the “Plan

         Modifications”). In accordance with Bankruptcy Rule 3019, the Plan Modifications do not

         (i) constitute material modifications of the Plan under section 1127 of the Bankruptcy Code,

         (ii) cause the Plan to fail to meet the requirements of sections 1122 or 1123 of the Bankruptcy

         Code, (iii) materially and adversely change the treatment of any Claims or Interests, (iv) require

         additional disclosure under section 1125 of the Bankruptcy Code, (v) require re-solicitation of


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         votes on the Plan from any holders of Claims or Interests, or (vi) require that any such holders be

         afforded an opportunity to change previously cast acceptances or rejections of the Plan. Under

         the circumstances, the form and manner of notice of the proposed Plan Modifications are

         adequate, and no other or further notice of the proposed Plan Modifications is necessary or

         required. In accordance with section 1127 of the Bankruptcy Code and Bankruptcy Rule 3019,

         all holders of Claims or Interests that voted to accept the Plan or that are conclusively presumed

         to have accepted the Plan are deemed to have accepted the Plan as modified by the Plan

         Modifications. No holder of a Claim or Interest that has voted to accept the Plan shall be

         permitted to change its acceptance to a rejection as a consequence of the Plan Modifications.

                K.      Bankruptcy Rule 3016. In accordance with Bankruptcy Rule 3016(a), the Plan is

         dated and identifies the Debtors as proponents of the Plan.           The filing of the Disclosure

         Statement with the clerk of the Court satisfied Bankruptcy Rule 3016(b). The discharge, release,

         injunction and exculpation provisions of the Plan are set forth in bold, thereby complying with

         Bankruptcy Rule 3016(c).

                     Compliance with Requirements of Section 1129 of Bankruptcy Code

                L.      Plan Compliance with the Bankruptcy Code (11 U.S.C. § 1129(a)(1)). The Plan

         complies with the applicable provisions of the Bankruptcy Code and thereby satisfies section

         1129(a)(1) of the Bankruptcy Code. More particularly:

                        1.     Proper Classification (11 U.S.C. §§ 1122, 1123(a)(1)). In addition to

         Administrative Expense Claims (Section 2.1 of the Plan), Professional Fee Claims (Section 2.2

         of the Plan), fees and expenses of the Unsecured Notes Indenture Trustee (Section 2.3 of the

         Plan), Priority Tax Claims (Section 2.4 of the Plan), DIP ABL Facility Claims (Section 2.5 of the

         Plan), and DIP Term Loan Facility Claims (Section 2.6 of the Plan), Articles III and IV of the

         Plan classify nine Classes of Claims and Interests for each of the Debtors. The Claims or
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         Interests placed in each Class are substantially similar to the other Claims or Interests, as the case

         may be, in each such Class. Valid business, factual and legal reasons exist for separately

         classifying the Classes of Claims or Interests under the Plan, and such Classes do not unfairly

         discriminate between holders of Claims or Interests. Additionally, Administrative Expense

         Claims will be paid in full in accordance with the terms of the Plan. The Plan therefore satisfies

         sections 1122 and 1123(a)(1) of the Bankruptcy Code.

                        2.      Specified Unimpaired Classes (11 U.S.C. § 1123(a)(2)). Articles III and

         IV of the Plan specify that holders of Claims or Interests in Class 1 (Priority Non-Tax Claims),

         Class 2 (Other Secured Claims), Class 3 (Prepetition ABL Claims), Class 6 (General Unsecured

         Claims), Class 7 (Intercompany Claims) and Class 8 (Intercompany Interests) are Unimpaired

         under the Plan within the meaning of section 1124 of the Bankruptcy Code, thereby satisfying

         section 1123(a)(2) of the Bankruptcy Code.

                        3.      Specified Treatment of Impaired Classes (11 U.S.C. § 1123(a)(3)).

         Articles III and IV of the Plan designate holders of Claims and Interests in Class 4 (Prepetition

         Term    Loan    Claims),    Class   5   (Unsecured      Notes   Claims)    and   Class    9   (Parent

         Interests) (collectively, the “Impaired Classes”) as impaired within the meaning of section 1124

         of the Bankruptcy Code and specify the treatment of the Claims and Interests in those Classes,

         thereby satisfying section 1123(a)(3) of the Bankruptcy Code.

                        4.      No Discrimination (11 U.S.C. § 1123(a)(4)). The Plan provides for the

         same treatment for each Claim or Interest in each respective Class unless the holder of a

         particular Claim or Interest has agreed to a less favorable treatment of such Claim or Interest,

         thereby satisfying section 1123(a)(4) of the Bankruptcy Code.




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                         5.    Implementation of Plan (11 U.S.C. § 1123(a)(5)). The Plan, including the

         documents and agreements set forth in the Plan Supplement, provides adequate and proper

         means for the implementation of the Plan, thereby satisfying section 1123(a)(5) of the

         Bankruptcy Code, including: (a) all corporate action set forth in Article V of the Plan; (b) the

         entry into the New Stockholders’ Agreement and the Warrant Agreement; (c) the issuance of the

         New Common Stock and the Warrants; (d) the entry into the Exit Facility; and (e) provisions

         governing distributions under the Plan.

                         6.    Designation of Directors and Officers (11 U.S.C. § 1123(a)(7)). In a

         supplement to the Plan Supplement [Docket No. 267], the Debtors identified the known directors

         and officers who will serve in such capacity with respect to one or more of the Reorganized

         Debtors. The Plan provisions governing the manner of selection of any officer, director or

         manager under the Plan are consistent with the interests of creditors and equity security holders

         and with public policy in accordance with section 1123(a)(7) of the Bankruptcy Code.

                         7.    Impairment/Unimpairment of Classes of Claims or Interests (11 U.S.C. §

         1123(b)(1)). As contemplated by section 1123(b)(1) of the Bankruptcy Code, and pursuant to

         section 1124 of the Bankruptcy Code, Articles III and IV of the Plan classify and describe the

         treatment for the Unimpaired Classes and the Impaired Classes.

                         8.    Assumption and Rejection (11 U.S.C. § 1123(b)(2)). Article VIII of the

         Plan governing the assumption or rejection of executory contracts and unexpired leases satisfies

         the requirements of sections 365(b) and 1123(b)(2) of the Bankruptcy Code.

                         9.    Retention of Causes of Action/Reservation of Rights (11 U.S.C. §

         1123(b)(3)).     Pursuant to Section 10.8 of the Plan and in compliance with section

         1123(b)(3)(B) of the Bankruptcy Code, except as otherwise set forth in or released by the Plan,


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         the Plan preserves the Debtors’ rights, claims, Causes of Action, rights of setoff or recoupment

         or other legal or equitable defenses that the Debtors had immediately prior to the Effective Date

         on behalf of the Estates or of themselves in accordance with any provision of the Bankruptcy

         Code or any applicable nonbankruptcy law, including any affirmative Causes of Action against

         parties with a relationship with the Debtors, other than the Released Parties.

                        10.     Modification of Rights (11 U.S.C. § 1123(b)(5)). The Plan modifies the

         rights of holders of Claims in Class 4 (Prepetition Term Loan Claims) and Class 5 (Unsecured

         Notes Claims) and Interests in Class 9 (Parent Interests), and leaves Unimpaired the rights of

         holders of Claims in Class 1 (Priority Non-Tax Claims), Class 2 (Other Secured Claims), Class 3

         (Prepetition ABL Claims), Class 6 (General Unsecured Claims) and Class 7 (Intercompany

         Claims), and Interests in Class 8 (Intercompany Interests).

                        11.     Additional Plan Provisions (11 U.S.C. § 1123(b)(6)). The provisions of

         the Plan are appropriate and consistent with the applicable provisions of the Bankruptcy Code

         and applicable law, including (a) the release, discharge, injunction and exculpation provisions set

         forth in Article X of the Plan, and (b) the exemption, pursuant to section 1145 of the Bankruptcy

         Code, of the offer, issuance and distribution of the New Common Stock and the Warrants, which

         will be freely tradable by the recipients thereof, subject to (i) the provisions of section

         1145(b)(1) of the Bankruptcy Code relating to the definition of an underwriter in section

         2(a)(11) of the Securities Act, (ii) compliance with any rules and regulations of the Securities

         and Exchange Commission, if any, applicable at the time of any future transfer of such securities

         or instruments, (iii) the restrictions, if any, on the transferability or ownership of the New

         Common Stock and the Warrants contained in the New Stockholders’ Agreement and the




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         Warrant Agreement, respectively, and (iv) applicable regulatory approval, thereby satisfying

         section 1123(a)(6) of the Bankruptcy Code.

                        12.     Debtors Are Not Individuals (11 U.S.C. § 1123(c)). The Debtors are not

         individuals and, accordingly, section 1123(c) of the Bankruptcy Code is inapplicable to the

         Chapter 11 Cases.

                        13.     Cure of Defaults (11 U.S.C. § 1123(d)). Section 8.3 of the Plan provides

         for the payment of Cure Amounts and compliance with section 365(b)(1) of the Bankruptcy

         Code in connection with the assumption of each executory contract and unexpired lease assumed

         pursuant to the Plan. The Debtors or the Reorganized Debtors, as applicable, have paid or will

         pay valid Cure Amounts in the ordinary course.

                M.      Debtors’ Compliance with Bankruptcy Code (11 U.S.C. § 1129(a)(2)).            The

         Debtors have complied with the applicable provisions of the Bankruptcy Code, except as

         otherwise provided or permitted by orders of the Bankruptcy Court. Specifically:

                        1.      Each of the Debtors is an eligible debtor under section 109 of the

         Bankruptcy Code; and

                        2.      The Debtors have complied with sections 1125 and 1126(b) of the

         Bankruptcy Code, the Bankruptcy Rules, the Local Rules, the Scheduling Order, applicable non-

         bankruptcy law, and all other applicable laws, rules and regulations in transmitting the Plan the

         Disclosure Statement, the Ballots and related documents and notices and in soliciting and

         tabulating the votes on the Plan.

                N.      Plan Proposed in Good Faith (11 U.S.C. § 1129(a)(3)).         The Debtors have

         proposed the Plan in good faith and not by any means forbidden by law, thereby satisfying

         section 1129(a)(3) of the Bankruptcy Code. The Debtors’ good faith is evident from the facts


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         and circumstances surrounding the commencement of the Chapter 11 Cases, the Disclosure

         Statement, and the record of the Combined Hearing. The Plan was proposed with the legitimate

         and honest purpose of maximizing the value of the Estates and to effectuate a successful

         reorganization of the Debtors. The Plan and the documents necessary to effectuate the Plan were

         negotiated in good faith and at arm’s length among the Debtors, the Restructuring Support

         Parties, the DIP Term Lenders, the DIP ABL Facility Agent, the Unsecured Notes Indenture

         Trustee, the Exit ABL Facility Agent and the Exit Facility Lenders.          Further, the Plan’s

         classification, indemnification, exculpation, release and injunction provisions have been

         negotiated in good faith and at arm’s length, are consistent with sections 105, 1122, 1123(b)(6),

         1123(b)(3)(A), 1129 and 1142 of the Bankruptcy Code, and are each integral to the Plan,

         supported by valuable consideration and necessary for the Debtors’ successful reorganization.

                O.      Payment for Services or Costs and Expenses (11 U.S.C. § 1129(a)(4)). Any

         payment made or to be made by the Debtors for services or for costs and expenses in connection

         with the Chapter 11 Cases, or in connection with the Plan and incident to the Chapter 11 Cases,

         is subject to the approval of the Bankruptcy Court as reasonable, thereby satisfying section

         1129(a)(4) of the Bankruptcy Code.

                P.      Directors, Officers, and Insiders (11 U.S.C. § 1129(a)(5)). The Debtors have

         complied with section 1129(a)(5) of the Bankruptcy Code. Except as set forth in the Plan,

         provisions regarding members of the New Board shall be as set forth in the Amended

         Organizational Documents. The appointment to, or continuance in, such offices of such persons

         is consistent with the interests of holders of Claims against or Interests in the Debtors and with

         public policy. To the extent known, the identity of any insider that will be employed or retained




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         by the Reorganized Debtors and the nature of such insider’s compensation have also been fully

         disclosed.

                Q.      No Rate Changes (11 U.S.C. § 1129(a)(6)). The Plan does not provide for any

         changes in any regulated rates by any of the Reorganized Debtors. Thus, section 1129(a)(6) of

         the Bankruptcy Code is not applicable in the Chapter 11 Cases.

                R.      Best Interests of Creditors (11 U.S.C. § 1129(a)(7)). The Plan satisfies section

         1129(a)(7) of the Bankruptcy Code.        The liquidation analysis included in the Disclosure

         Statement (i) is reasonable, persuasive and credible, (ii) utilizes reasonable and appropriate

         methodologies and assumptions; (iii) has not been controverted by other evidence and

         (iv) establishes that each holder of an Impaired Claim or Interest either has accepted the Plan or

         will receive or retain under the Plan, on account of such Claim or Interest, property of a value, as

         of the Effective Date, that is not less than the amount that such holder would receive or retain if

         the Debtors were liquidated under chapter 7 of the Bankruptcy Code on such date.

                S.      Acceptance by Certain Classes (11 U.S.C. § 1129(a)(8)). Holders of Claims or

         Interests in Class 1 (Priority Non-Tax Claims), Class 2 (Other Secured Claims), Class 3

         (Prepetition ABL Claims), Class 6 (General Unsecured Claims), Class 7 (Intercompany Claims),

         and Class 8 (Intercompany Interests) are not Impaired under the Plan and are, therefore,

         conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy

         Code. Class 4 (Prepetition Term Loan Claims) and Class 5 (Unsecured Notes Claims) have

         voted to accept the Plan in accordance with sections 1126(b) and (c) of the Bankruptcy Code.

         Holders of Interests in Class 9 (Parent Interests) will not receive or retain any property on

         account of their Interests under the Plan and, as such, Class 9 (Parent Interests) is deemed to

         have rejected the Plan pursuant to section 1126(g) of the Bankruptcy Code. Pursuant to section


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         1129(b)(1) of the Bankruptcy Code, the Plan may be confirmed notwithstanding that holders of

         Interests in Class 9 (Parent Interests) are Impaired and are deemed to have rejected the Plan.

                T.       Treatment of Administrative Expense Claims, Professional Fee Claims, Fees and

         Expenses of the Unsecured Notes Indenture Trustee, and Priority Tax Claims (11 U.S.C. §

         1129(a)(9)).    The treatment of Allowed Administrative Expense Claims, Professional Fee

         Claims, fees and expenses of the Unsecured Notes Indenture Trustee, DIP ABL Facility Claims

         and DIP Term Loan Facility Claims pursuant to Sections 2.1, 2.2, 2.3, 2.4, 2.5 and 2.6 of the

         Plan satisfies the requirements of section 1129(a)(9)(A) of the Bankruptcy Code. The treatment

         of Allowed Priority Non-Tax Claims pursuant to Section 4.1 of the Plan satisfies the

         requirements of section 1129(a)(9)(B) of the Bankruptcy Code.          The treatment of Allowed

         Priority Tax Claims pursuant to Section 2.4 of the Plan satisfies the requirements of section

         1129(a)(9)(C) of the Bankruptcy Code.

                U.       Acceptance by Impaired Class (11 U.S.C. § 1129(a)(10)). Class 4 (Prepetition

         Term Loan Claims) and Class 5 (Unsecured Notes Claims) are Impaired and voted to accept the

         Plan by the requisite majorities, determined without including any acceptance of the Plan by any

         insider, thereby satisfying the requirements of section 1129(a)(10) of the Bankruptcy Code.

                V.       Feasibility (11 U.S.C. § 1129(a)(11)).       The information in the Disclosure

         Statement and the Goldstein Confirmation Declaration (i) is persuasive and credible, (ii) has not

         been controverted by other evidence and (iii) together with the evidence presented at the

         Combined Hearing, establishes that the Plan is feasible and that there is a reasonable prospect of

         the Reorganized Debtors being able to meet their financial obligations under the Plan and their

         business in the ordinary course, that the incurrence of the obligations contemplated by the Plan

         will not result in the insolvency of the Debtors, and that confirmation of the Plan is not likely to


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         be followed by the liquidation or the need for further financial reorganization of the Reorganized

         Debtors, thereby satisfying the requirements of section 1129(a)(11) of the Bankruptcy Code.

                  W.    Payment of Statutory Fees (11 U.S.C. § 1129(a)(12)). All fees payable under

         section 1930 of chapter 123 of title 28 of the United States Code, together with interest, if any,

         pursuant to § 3717 of title 31 of the United States Code for each Debtor’s case, or until such time

         as a final decree is entered closing a particular Debtor’s case, a Final Order converting such

         Debtor’s case to a case under chapter 7 of the Bankruptcy Code is entered, or a Final Order

         dismissing such Debtor’s case is entered, have been or will be paid on or before the Effective

         Date pursuant to Section 12.1 of the Plan, thereby satisfying the requirements of section

         1129(a)(12) of the Bankruptcy Code.

                  X.    Continuation of Retiree Benefits (11 U.S.C. § 1129(a)(13)). Section 5.12 of the

         Plan provides that on the Effective Date, and subject to the limitations set forth in Section

         5.12(c) of the Plan, the Reorganized Debtors shall be deemed to have assumed all employee

         compensation plans, Benefit Plans, employment agreements, offer letters, or award letters to

         which any Debtor is a party (collectively, the “Employee Arrangements”). Accordingly, the

         Plan satisfies section 1129(a)(13) of the Bankruptcy Code.

                  Y.    No Domestic Support Obligations (11 U.S.C. § 1129(a)(14)). The Debtors are not

         required by a judicial or administrative order, or by statute, to pay a domestic support obligation.

         Accordingly, section 1129(a)(14) of the Bankruptcy Code is inapplicable in the Chapter 11

         Cases.

                  Z.    Debtors Are Not Individuals (11 U.S.C. § 1129(a)(15)). The Debtors are not

         individuals, and accordingly, section 1129(a)(15) of the Bankruptcy Code is inapplicable in the

         Chapter 11 Cases.


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                AA.      No Applicable Non-Bankruptcy Law Regarding Transfers (11 U.S.C. §

         1129(a)(16)).   The Debtors are each a moneyed, business or commercial corporation, and

         accordingly, section 1129(a)(16) of the Bankruptcy Code is inapplicable in the Chapter 11 Cases.

                BB.      No Unfair Discrimination; Fair and Equitable (11 U.S.C. § 1129(b)). Class 9

         (Parent Interests) is deemed to have rejected the Plan. Based upon the evidence proffered,

         adduced and presented by the Debtors at the Combined Hearing, the Plan does not discriminate

         unfairly and is fair and equitable with respect to Class 9 (Parent Interests), as required by

         sections 1129(b)(1) and (b)(2) of the Bankruptcy Code.        Thus, the Plan may be confirmed

         notwithstanding the deemed rejection of the Plan by Class 9 (Parent Interests).

                CC.      Only One Plan (11 U.S.C. § 1129(c)). The Plan is the only plan filed in each of

         the Chapter 11 Cases, and accordingly, section 1129(c) of the Bankruptcy Code is inapplicable in

         the Chapter 11 Cases.

                DD.      Principal Purpose of Plan (11 U.S.C. § 1129(d)). The principal purpose of the

         Plan is not the avoidance of taxes or the avoidance of the application of section 5 of the

         Securities Act, and no governmental entity has objected to the confirmation of the Plan on any

         such grounds.     The Plan, therefore, satisfies the requirements of section 1129(d) of the

         Bankruptcy Code.

                EE.      Good Faith Solicitation and Participation (11 U.S.C. § 1125(e)). Based on the

         record before the Bankruptcy Court, including evidence presented at the Combined Hearing, the

         Debtors and their respective affiliates, agents, representatives, members, principals, shareholders,

         officers, directors, employees, advisors and attorneys (i) have acted in “good faith” within the

         meaning of section 1125(e) of the Bankruptcy Code in compliance with the applicable provisions

         of the Bankruptcy Code, the Bankruptcy Rules, the Local Rules, the Scheduling Order and any


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         applicable non-bankruptcy law, rule or regulation governing the adequacy of disclosure in

         connection with all their respective activities relating to the solicitation of acceptances to the

         Plan and their participation in the activities described in section 1125 of the Bankruptcy Code

         and (ii) shall be deemed to have participated in good faith and in compliance with the applicable

         provisions of the Bankruptcy Code in the offer and issuance of any securities under the Plan

         (including the New Common Stock (including the Supplemental Securities) and Warrants), and

         therefore are not, and on account of such offer, issuance and solicitation will not be, liable at any

         time for the violation of any applicable law, rule or regulation governing the solicitation of

         acceptances or rejections of the Plan or the offer and issuance of securities under the Plan

         (including the New Common Stock (including the Supplemental Securities) and Warrants), and

         are entitled to the protections afforded by section 1125(e) of the Bankruptcy Code, Section 10.9

         of the Plan, and the exculpation provisions set forth in Section 10.7 of the Plan.

                FF.     Satisfaction of Confirmation Requirements. Based upon the foregoing, the Plan

         satisfies the requirements for confirmation set forth in section 1129 of the Bankruptcy Code.

                GG.     Likelihood of Satisfaction of Conditions Precedent to the Effective Date. Each of

         the conditions precedent to the Effective Date, as set forth in the Plan, has been or is reasonably

         likely to be satisfied or waived in accordance with the Plan.

                HH.     Implementation. All documents and agreements necessary to implement the Plan

         (the “Plan Documents and Agreements”), including the documents contained in and

         contemplated by the Plan Supplement, the Definitive Documents and the Exit Facility

         Documents (the material terms of which were filed as part of the Plan Supplement), are essential

         elements of the Plan, and entry into each such Plan Document and Agreement is in the best

         interests of the Debtors, the Estates and holders of Claims and Interests, and the Debtors are


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         hereby authorized to execute such Plan Documents and Agreements, and take all such further

         actions as are necessary to implement such Plan Documents and Agreements, including the

         payment of all fees, expenses and other payments (including the Backstop Payment) in

         accordance with the terms thereof. The Debtors have exercised reasonable business judgment in

         determining to enter into the Plan Documents and Agreements, and all such Plan Documents and

         Agreements, including the fees, expenses and other payments set forth therein (including the

         Backstop Payment), have been negotiated in good faith and at arm’s-length, are supported by

         reasonably equivalent value and fair consideration, and shall, upon completion of documentation

         and execution, be valid, binding and enforceable agreements.

                 II.     Disclosure of Facts. The Debtors have disclosed all material facts regarding the

         Plan, including with respect to consummation of the Exit Facility Documents, the Amended

         Organizational Documents, the New Stockholders’ Agreement, and the Warrant Agreement, and

         the fact that each applicable Debtor will emerge from its chapter 11 case as a validly existing

         limited liability company, partnership, or other form, as applicable, with separate assets,

         liabilities, and obligations.

                 JJ.     Executory Contracts and Unexpired Leases.            The Debtors have exercised

         reasonable business judgment in determining whether to assume, assume and assign, or reject

         executory contracts and unexpired leases pursuant to Article VIII of the Plan. Each assumption

         or assumption and assignment of an executory contract or unexpired lease pursuant to Article

         VIII of the Plan shall be legal, valid and binding upon the Debtors or the Reorganized Debtors

         and their successors and assigns and all non-Debtor parties and their successors and assigns to

         such executory contract or unexpired lease, all to the same extent as if such assumption or

         assumption and assignment were effectuated pursuant to an order of the Bankruptcy Court under


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         section 365 of the Bankruptcy Code entered before entry of this Order. Moreover, the Debtors or

         the Reorganized Debtors, as applicable, have cured, or provided adequate assurance that the

         Debtors or the Reorganized Debtors or their successors and assigns, as applicable, will cure,

         defaults (if any) under or relating to each of the executory contracts and unexpired leases that are

         being assumed by the Debtors pursuant to the Plan.

                KK.       Injunction, Exculpation, and Releases.

                          (a)    The Bankruptcy Court has jurisdiction under sections 1334(a) and (b) of

         title 28 of the United States Code and authority under section 105 of the Bankruptcy Code to

         approve the injunctions or stays, injunction against interference with the Plan, releases and

         exculpation set forth in in the Plan, including in Sections 10.5, 10.6 and 10.7 of the Plan,

         respectively. As has been established based upon the evidence presented at the Combined

         Hearing, such provisions (i) were given in exchange for good and valuable consideration,

         (ii) were integral to the agreements among the various parties in interest and are essential to the

         formulation and implementation of the Plan, as provided in section 1123 of the Bankruptcy

         Code, (iii) confer substantial benefits on the Estates, (iv) are fair, equitable and reasonable, and

         (v) are in the best interests of the Debtors, the Estates and parties in interest. Further, the failure

         to implement the injunctions, exculpation and releases would impair the Debtors’ ability to

         confirm and implement the Plan. Pursuant to section 1123(b)(3) of the Bankruptcy Code and

         Bankruptcy Rule 9019(a), the injunctions, releases and exculpation set forth in the Plan and

         implemented by this Order are fair, equitable, reasonable and in the best interests of the Debtors,

         the Reorganized Debtors and the Estates and their creditors, and are supported by adequate

         consideration.




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                        (b)     The releases granted by the Debtors and the Estates under Section 10.6(a)

         of the Plan represent a valid exercise of the Debtors’ business judgment. The Released Parties

         provided good and valuable consideration in exchange for the releases – including services,

         substantial funding (including the financings provided pursuant to the DIP Orders and the Exit

         Facility Documents) and the consensual reduction or waiver of significant claims, as the case

         may be – and otherwise facilitated the reorganization of the Debtors and the implementation of

         the restructuring contemplated by the Plan.

                        (c)     The releases contained in Section 10.6(b) of the Plan are consensual

         because they are provided by (i) holders of Impaired Claims or Interests (A) who voted to accept

         the Plan, (B) whose vote to accept or reject the Plan was solicited but did not vote either to

         accept or reject the Plan and did not opt out of granting the releases in the Plan or (C) who voted

         to reject the Plan but did not opt out of granting the releases in the Plan, (ii) holders of

         Unimpaired Claims or Interests, presumed to accept the Plan, that did not timely object to the

         releases contained in the Plan, and (iii) the DIP ABL Facility Agent, the DIP ABL Secured

         Parties, the DIP Term Loan Facility Agent, the DIP Term Loan Secured Parties, the Supporting

         Term Lenders, the Crossover Holder, the Supporting Noteholders, the Supporting Sponsors, the

         Unsecured Notes Indenture Trustee, the Exit ABL Facility Agent, the Priority Facility Agent, the

         Exit Facility Lenders, the Takeback Term Loan Agent, the Prepetition ABL Secured Parties, and

         the Prepetition Term Loan Secured Parties. Based on the foregoing, the releases given by non-

         Debtors satisfy the applicable standards contained in In re Indianapolis Downs, 486 B.R. 286,

         303 (Bankr. D. Del. 2013). For the avoidance of doubt, Jenny Yoo Collections, Inc. will not be

         deemed to have granted the releases set forth in Section 10.6(b) of the Plan and shall not be one

         of the Releasing Parties.


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                        (d)     The exculpations granted under the Plan are reasonable in scope as the

         exculpation provision does not relieve any party of liability for an act or omission to the extent

         such act or omission is determined by Final Order to constitute willful misconduct, gross

         negligence or intentional fraud.

                        (e)     The record of the Combined Hearing is sufficient to support the

         injunctions, releases and exculpation provided for in the Plan, including Sections 10.5, 10.6 and

         10.7 of the Plan. Accordingly, based upon the representations of the parties and the evidence

         proffered, adduced or presented at the Combined Hearing, the injunctions, exculpation and

         releases set forth in Article X of the Plan are consistent with the Bankruptcy Code and applicable

         law.

                LL.     Good Faith. The Debtors and the Released Parties have been and will be acting in

         good faith if they proceed to (i) consummate the Plan and the agreements, settlements,

         transactions and transfers contemplated thereby and (ii) take the actions authorized by this Order

         to reorganize the Debtors’ business and effect the Exit Facility Documents, the Amended

         Organizational Documents, the New Stockholders’ Agreement, the Warrant Agreement, and the

         other restructuring transactions.

                MM. Unsecured Notes Indenture Trustee. Based upon a review of the record, the

         Unsecured Notes Indenture Trustee diligently and in good faith, discharged its duties and

         obligations pursuant to the Unsecured Notes Indenture and otherwise conducted itself with

         respect to all matters in any way related to the claims of the Unsecured Noteholders with the

         same degree of care and skill that a prudent person would exercise or use under the

         circumstances in the conduct of his or her own affairs.




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                NN.     Exit Facility. The Exit Facility is the best financing available to the Debtors

         following a competitive marketing and solicitation process commenced by the Debtors’

         investment banker, on behalf of the Debtors, to identify potential providers of fully-committed

         exit financing. The availability of the Exit Facility is necessary to the consummation of the Plan

         and the operation of the Reorganized Debtors, and constitutes reasonably equivalent value and

         fair consideration.   The Exit Facility is supported by reasonably equivalent value and fair

         consideration and is in the best interests of the Debtors, the Reorganized Debtors, the Estates and

         their creditors. The financial accommodations to be extended pursuant to the Exit Facility

         Documents are being extended in good faith, for legitimate business purposes, are reasonable,

         and shall not be subject to recharacterization for any purposes whatsoever and shall not

         constitute preferential transfers or fraudulent conveyances under the Bankruptcy Code or any

         other applicable non-bankruptcy law. The Exit Facility has been negotiated in good faith and at

         arm’s length among the Debtors and lenders thereto, and any credit extended and loans made to

         the Reorganized Debtors pursuant to the Exit Facility, as applicable, and any fees paid

         thereunder are deemed to have been extended, issued, and made in good faith.

                OO.     Amended Organizational Documents. The Amended Organizational Documents

         are necessary to the consummation of the Plan and the operation of the Reorganized Debtors.

         The Amended Organizational Documents are supported by reasonably equivalent value and fair

         consideration and are in the best interests of the Debtors, the Reorganized Debtors, the Estates

         and their creditors. The Amended Organizational Documents are the result of good faith, arm’s

         length negotiations among the Debtors, the Supporting Term Lenders, the Crossover Holder and

         the Supporting Noteholders, are appropriate and consistent with the applicable provisions of the

         Bankruptcy Code and the Bankruptcy Rules, including sections 1123, 1129, and 1142 of the


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         Bankruptcy Code, and are necessary to the Debtors’ successful emergence from chapter 11. The

         execution, delivery or performance by the Debtors or the Reorganized Debtors, as the case may

         be, of any documents in connection with the Amended Organizational Documents and

         compliance by the Debtors or the Reorganized Debtors, as the case may be, with the terms

         thereof is authorized by, this Order.

                PP.     New Stockholders’ Agreement and Warrant Agreement. The New Stockholders’

         Agreement and the Warrant Agreement, as applicable, are essential elements of the Plan. The

         Debtors have exercised sound business judgment in deciding to negotiate the New Stockholders’

         Agreement and the Warrant Agreement. They were negotiated at arm’s length and in good faith

         and without intent to hinder, delay or defraud any creditor of the Debtors, are supported by

         reasonably equivalent value and fair consideration, and are in the best interests of the Debtors,

         the Reorganized Debtors, the Estates and creditors. The issuance of the New Common Stock

         and the Warrants by the Reorganized Debtors and the execution, delivery or performance by the

         Debtors or the Reorganized Debtors, as the case may be, of the New Stockholders’ Agreement

         and the Warrant Agreement and any other documents in connection with the New Common

         Stock and the Warrants and compliance by the Debtors or the Reorganized Debtors, as the case

         may be, with the terms thereof is authorized by this Order. The financial accommodations to be

         extended pursuant to the New Stockholders’ Agreement and all related documents (the “New

         Common Stock Documents”) and the Warrant Agreement and all related documents (the

         “Warrant Documents”) are being extended, and shall be deemed to have been extended, in

         good faith, for legitimate business purposes and are reasonable.

                QQ.     Exemption from Securities Laws. The offer, issuance and distribution of the

         New Common Stock (including the Supplemental Securities) and the Warrants to holders of


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         Prepetition Term Loan Claims and Unsecured Notes Claims, as applicable, under Sections

         4.4(c) and 4.5(c), respectively, of the Plan shall be exempt, pursuant to section 1145 of the

         Bankruptcy Code, without further act or action by any Entity, from registration under (i) the

         Securities Act and all rules and regulations promulgated thereunder, and (ii) any state or local

         law requiring registration for the offer, issuance, or distribution of securities. The New Common

         Stock and the Warrants shall be freely tradable by the recipients thereof, subject to (i) the

         provisions of section 1145(b)(1) of the Bankruptcy Code relating to the definition of an

         underwriter in section 2(a)(11) of the Securities Act, (ii) compliance with any rules and

         regulations of the Securities and Exchange Commission, if any, applicable at the time of any

         future transfer of such securities or instruments, (iii) the restrictions, if any, on the transferability

         of the New Common Stock contained in the New Stockholders’ Agreement, (iv) the restrictions,

         if any, on the transferability of the Warrants contained in the Warrant Agreement and

         (v) applicable regulatory approval. All securities described above were (or are designated to

         be) offered, issued and distributed pursuant to the Plan.

                 RR.     Conditions Precedent to Confirmation and Effective Date.               The conditions

         precedent to the confirmation of the Plan and the Effective Date, set forth in Section 9.1 and 9.2,

         respectively, of the Plan may be waived in writing by the Debtors with the prior written consent

         of the Required Supporting Term Lenders, the Crossover Holder, the Exit ABL Facility Agent

         (solely with respect to conditions related to the effectiveness of the Exit ABL Facility), the

         Priority Exit Facility Agent (solely with respect to conditions related to the effectiveness of the

         Priority Exit Facility) and the Takeback Term Loan Agent (solely with respect to conditions

         related to the effectiveness of the Takeback Term Loan) without leave of or order of the

         Bankruptcy Court; provided, however, that the condition in Section 9.2(e) of the Plan may be


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         waived with respect to a particular Definitive Document only to the extent that every party that

         maintains a consent right over the subject Definitive Document as set forth in the Restructuring

         Support Agreement agrees to waive such condition with respect to the subject Definitive

         Document.

                SS.     Retention of Jurisdiction. Upon the Effective Date, subject to applicable law, the

         Bankruptcy Court may retain jurisdiction over all matters arising out of, and related to, the

         Chapter 11 Cases as set forth in Article XI of the Plan and section 1142 of the Bankruptcy Code;

         provided that, on and after the Effective Date and after the consummation of the following

         agreements or documents, the Bankruptcy Court shall not retain jurisdiction over matters arising

         out of or related to each of the Exit Facility Documents, the Amended Organizational

         Documents, the New Stockholders’ Agreement and the Warrant Agreement, and the Exit Facility

         Documents, the Amended Organizational Documents, the New Stockholders’ Agreement and the

         Warrant Agreement shall be governed by the respective jurisdictional provisions therein.

                TT.     Waiver of Stay. Given the facts and circumstances of the Chapter 11 Cases, it is

         appropriate that this Order shall not be stayed pursuant to Bankruptcy Rules 3020(e), 6004(g),

         6006(d) or 7062, and this Order shall take effect immediately upon its entry.

                                                     ORDER

                ACCORDINGLY, IT IS HEREBY ORDERED, ADJUDGED, DECREED, AND

         DETERMINED THAT:

                        1.     Findings of Fact and Conclusions of Law. The above-referenced findings

         of fact and conclusions of law are hereby incorporated by reference as though fully set forth

         herein and shall constitute findings of fact and conclusions of law pursuant to Bankruptcy Rule

         7052, made applicable herein by Bankruptcy Rule 9014. To the extent that any finding of fact

         shall be determined to be a conclusion of law, it shall be deemed so, and vice versa.
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                        2.      Combined Notice. The Combined Notice complied with the terms of the

         Scheduling Order, was appropriate and satisfactory based upon the circumstances of the Chapter

         11 Cases, and was in compliance with the provisions of the Bankruptcy Code; the Bankruptcy

         Rules, the Local Rules and applicable non-bankruptcy law.

                        3.      Solicitation. The solicitation of votes on the Plan complied with the

         Solicitation Procedures, was appropriate and satisfactory based upon the circumstances of the

         Chapter 11 Cases, and was in compliance with the provisions of the Bankruptcy Code, the

         Bankruptcy Rules, the Local Rules, the Scheduling Order and applicable non-bankruptcy law.

                        4.      Ballots. The forms of Ballots annexed to the Debtors’ Motion for Entry of

         an Order (A) Scheduling Combined Hearing to Consider (i) Approval of Disclosure Statement,

         (ii) Approval of Solicitation Procedures and Forms of Ballots, (iii) Confirmation of Prepackaged

         Plan; (B) Establishing an Objection Deadline to Object to Disclosure Statement and Plan; (C)

         Approving the Form and Manner of Notice of Combined Hearing, Objection Deadline, and

         Notice of Commencement; (D) Approving Notice and Objection Procedures for the Assumption

         of Executory Contracts and Unexpired Leases; (E) Extending Time, and Upon Plan

         Confirmation, Waiving Requirements to (i) Convene Section 341 Meeting, and (ii) File

         Statements of Financial Affairs and Schedules of Assets and Liabilities; and (F) Granting

         Related Relief [Docket No. 11] (the “Scheduling Motion”) are adequate and appropriate, are in

         compliance with Bankruptcy Rule 3018(c), substantially conform to Official Form B314, and are

         approved in all respects.

                        5.      Tabulation Procedures. The procedures used for tabulations of votes to

         accept or reject the Plan as set forth in the Disclosure Statement, the Solicitation Procedures, the

         Voting Certification, and the Ballots are approved.


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                        6.      Plan Modifications and Amendments. The Plan Modifications constitute

         technical changes and do not materially and adversely affect or change the treatment of any

         Claims or Interests. Accordingly, the Plan Modifications do not require additional disclosure or

         re-solicitation of votes under sections 1125, 1126 or 1127 of the Bankruptcy Code or Bankruptcy

         Rule 3019, nor do they require that holders of Class 4 Claims (Prepetition Term Loan Claims)

         and Class 5 Claims (Unsecured Notes Claims) be afforded an opportunity to change previously

         cast acceptances or rejections of the Plan. Holders of Class 4 Claims (Prepetition Term Loan

         Claims) and Class 5 Claims (Unsecured Notes Claims) that voted to accept the solicitation

         version of the Plan are deemed to accept the Plan as modified.

                        7.      Solicitation of Disclosure Statement. The       Disclosure    Statement     is

         approved in all respects. The Disclosure Statement (a) contains adequate information of a kind

         that is consistent with the disclosure requirements of applicable non-bankruptcy law, including

         the Securities Act, (b) contains “adequate information” (as such term is defined in section

         1125(a)(1) and used in section 1126(b)(2) of the Bankruptcy Code) with respect to the Debtors,

         the Plan and the transactions contemplated therein, and (c) is approved in all respects. To the

         extent that the Solicitation was deemed to constitute an offer of new securities, the Solicitation is

         exempt from registration pursuant to section 4(a)(2) and Regulation D of the Securities Act.

         Specifically, section 4(a)(2) of the Securities Act provides an exemption from the registration

         requirements under the Securities Act for transactions not involving a “public offering.” 15

         U.S.C. § 77d(a)(2). The Debtors have complied with the requirements of section 4(a)(2) of the

         Securities Act and the prepetition solicitation of acceptances would constitute a private offer of

         securities. The solicitation to creditors was made only to those holders of Class 4 (Prepetition

         Term Loan Claims) and Class 5 Claims (Unsecured Notes Claims) that are “Accredited


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         Investors” (within the meaning of rule 501(a) of Regulation D of the Securities Act), as creditors

         were required to certify on their Ballots that they belonged to such category. Therefore, the

         Debtors have satisfied the requirements of section 1126(b)(1) of the Bankruptcy Code with

         respect to the prepetition Solicitation.

                        8.      Confirmation of Plan. The Plan is hereby CONFIRMED under section

         1129 of the Bankruptcy Code. The documents contained in or contemplated by the Plan,

         including the Plan Supplement and the Definitive Documents, are hereby authorized.

                        9.      Objections. All parties have had a full and fair opportunity to litigate all

         issues raised by objections to the Solicitation Procedures, the Disclosure Statement and

         confirmation of the Plan. All objections, statements, informal objections and other responses or

         reservations of rights, if any, related to the Solicitation Procedures, notice of the Combined

         Hearing or the deadline for objecting thereto, the Disclosure Statement, the Ballots, and to

         confirmation of the Plan, and other responses or reservation of rights with respect to

         confirmation of the Plan (a) have been withdrawn, waived, or otherwise resolved by the Debtors

         prior to entry of this Order, or (b) to the extent that any objections (including any reservations of

         rights contained therein), statements, informal objections and other responses or reservations of

         rights, if any, related to the Solicitation Procedures, notice of the Combined Hearing, the

         Disclosure Statement, the Ballots and to confirmation of the Plan have not been withdrawn prior

         to entry of this Order, such objections, statements, informal objections and other responses or

         reservations of rights, if any, shall be, and hereby are, overruled on the merits.

                        10.     Binding Effect. Upon the occurrence of the Effective Date, the terms of

         the Plan are immediately effective and enforceable and deemed binding on the Debtors, the

         Reorganized Debtors, and any and all holders of Claims or Interests (regardless of whether such


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         holders of Claims or Interests have, or are deemed to have, accepted the Plan), all Entities that

         are parties to or are subject to the settlements, compromises, releases, discharges, and injunctions

         described in the Plan, each Entity acquiring property under the Plan, and any and all non-Debtor

         parties to Executory Contracts and Unexpired Leases with the Debtors. The Plan and this

         Confirmation Order shall be binding against and binding upon any Chapter 7 or Chapter 11

         trustee appointed in any of the Chapter 11 Cases.

                        11.     Free and Clear. On the Effective Date, pursuant to sections 1141(b) and

         1141(c) of the Bankruptcy Code, all property of the Estates shall vest in the Reorganized Debtors

         free and clear of all Claims, Liens, encumbrances, charges and other interests, except as provided

         pursuant to the Plan, this Order and the Exit Facility Documents. On and after the Effective

         Date, the Reorganized Debtors may operate their business, use, acquire, sell, lease and dispose of

         property, and enter into transactions, agreements, understandings or arrangements, whether in or

         other than in the ordinary course of business, and execute, deliver, implement and fully perform

         any and all obligations, instruments, documents and papers or otherwise in connection with any

         of the foregoing, free of any restrictions of the Bankruptcy Code or the Bankruptcy Rules and in

         all respects as if there were no pending cases under any chapter or provision of the Bankruptcy

         Code, except as expressly provided in this Order or the Plan. Without limiting the foregoing, the

         Reorganized Debtors may pay the charges that they incur on or after the Effective Date for

         professional fees, disbursements, expenses or related support services without application to the

         Bankruptcy Court.

                        12.     Implementation of Plan. The Debtors’ entry into the Plan Documents and

         Agreements is hereby authorized. The Plan Documents and Agreements and all other relevant

         and necessary documents have been negotiated in good faith and at arm’s length, are in the best


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         interests of the Debtors, the Reorganized Debtors, the Estates and their Creditors, and shall, upon

         completion of documentation and execution, be valid, binding, and enforceable documents and

         agreements. The Debtors and Reorganized Debtors, as applicable, are authorized to take any

         action as may be or become necessary or appropriate to effect any transaction described in,

         approved by, contemplated by, or necessary to effectuate the Plan, including (i) the execution

         and delivery of appropriate agreements or other documents of merger, consolidation,

         restructuring, financing, conversion, disposition, transfer, dissolution, or liquidation containing

         terms that are consistent with the terms of the Plan and that satisfy the applicable requirements of

         applicable law and any other terms to which the applicable Entities may determine, (ii) the

         execution and delivery of appropriate instruments of transfer, assignment, assumption or

         delegation of any asset, property, right, liability, debt or obligation on terms consistent with the

         terms of the Plan and having other terms to which the applicable parties agree, (iii) the filing of

         appropriate certificates or articles of incorporation, reincorporation, merger, consolidation,

         conversion or dissolution and the Amended Organizational Documents pursuant to applicable

         state law, (iv) the issuance of securities (including the New Common Stock (including the

         Supplemental Securities) and the Warrants), all of which shall be authorized and approved in all

         respects in each case without further action being required under applicable law, regulation,

         order or rule, and (v) all other actions that the applicable Entity determines to be necessary or

         appropriate, including making filings or recordings that may be required by applicable law,

         subject, in each case, to the Amended Organizational Documents. Each officer, member of the

         board of directors, or manager of the Debtors and the Reorganized Debtors, as applicable, is and

         shall be authorized to issue, execute, deliver, file or record such contracts, securities,

         instruments, releases, indentures and other agreements or documents and take such actions as


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         may be necessary or appropriate to effectuate, implement and further evidence the terms and

         conditions of the Plan and the securities issued pursuant to the Plan (including the New Common

         Stock (including the Supplemental Securities) and the Warrants) in the name of and on behalf of

         the Reorganized Debtors, all of which shall be authorized and approved in all respects, in each

         case, without the need for any approvals, authorization, consents or any further action required

         under applicable law, regulation, order, or rule (including any action by the stockholders or

         directors or managers of the Debtors or the Reorganized Debtors) except for those expressly

         required pursuant to the Plan. All matters provided for in the Plan involving the corporate

         structure of the Debtors or the Reorganized Debtors, including the transactions described in

         Sections 5.1 and 5.10 of the Plan, to the extent applicable, or any corporate, limited liability

         company, or related action required by the Debtors or the Reorganized Debtors in connection

         herewith shall be deemed to have occurred and shall be in effect, without any requirement of

         further action by the stockholders, members or directors or managers of the Debtors or the

         Reorganized Debtors, and with like effect as though such action had been taken unanimously by

         the stockholders, members, directors, managers or officers, as applicable, of the Debtors or the

         Reorganized Debtors.

                        13.     Restructuring Transactions.

                        (a)     The Debtors or Reorganized Debtors, as applicable, are authorized to enter

         into and effectuate the Restructuring Transactions, including the entry into and consummation of

         the transactions contemplated by the Exit Facility Documents, the Amended Organizational

         Documents, the New Stockholders’ Agreement, and the Warrant Agreement and may take any

         actions as may be necessary or appropriate to effect a corporate restructuring of their respective

         business or a corporate restructuring of the overall corporate structure of the Reorganized


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         Debtors, as and to the extent provided in the Plan, provided that, subject to Paragraph 29 of this

         Order, this Paragraph 13 and Paragraph 12 of this Order do not authorize the Debtors to violate

         the terms of any executory contract or unexpired lease assumed pursuant to the Plan. Any

         transfers of assets or equity interests effected or any obligations incurred through the

         Restructuring Transactions are hereby approved and shall not constitute fraudulent conveyances

         or fraudulent transfers or otherwise be subject to avoidance. Except as otherwise provided in the

         Plan, each Reorganized Debtor, as applicable, shall continue to exist after the Effective Date as a

         separate corporate entity, limited liability company, partnership, or other form, as the case may

         be, with all the powers of a corporation, limited liability company, partnership, or other form, as

         the case may be, under the applicable law in the jurisdiction in which such applicable Debtor is

         incorporated or formed.

                        (b)    In addition to, or instead of, the Restructuring Transactions, the Debtors or

         the Reorganized Debtors, subject to the respective consent rights of the applicable Restructuring

         Support Parties as set forth in the Restructuring Support Agreement prior to its termination

         hereunder, may cause any of the Debtors or the Reorganized Debtors to engage in additional

         corporate restructuring transactions necessary or appropriate for the purposes of implementing

         the Plan, including converting corporate entities into limited liability companies, forming new

         entities within the corporate organizational structure of the Debtors or Reorganized Debtors,

         cancelling the existing equity at another of the Debtor entities and issuing new equity therefrom,

         consolidating, reorganizing, restructuring, merging, dissolving, liquidating or transferring assets

         between or among the Debtors and the Reorganized Debtors.             The actions to effect these

         transactions may include (a) the execution and delivery of appropriate agreements or other

         documents of merger, consolidation, restructuring, reorganization, transfer, disposition,


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         conversion, liquidation, or dissolution containing terms that are consistent with the terms of the

         Plan and such other terms to which the applicable Persons may agree; (b) on terms consistent

         with the terms of the Plan and having such other terms to which the applicable Persons may

         agree, the execution and delivery of appropriate instruments of transfer, conversion, assignment,

         assumption, or delegation of any asset, property, right, liability, duty, or obligation; (c) pursuant

         to applicable state law, the filing of appropriate certificates of articles of merger, consolidation,

         conversion, dissolution, or change in corporate form; and (d) the taking of all other actions that

         the applicable Persons determine to be necessary or appropriate, including (i) making filings or

         recordings that may be required by applicable state law in connection with such transactions and

         (ii) any appropriate positions on one or more tax returns. For the avoidance of doubt, subject to

         Paragraph 29 of this Order, this Paragraph 13 and Paragraph 12 of this Order do not authorize the

         Debtors to violate the terms of any executory contract or unexpired lease assumed pursuant to

         the Plan.

                        14.     Amended Organizational Documents. The Debtors and the Reorganized

         Debtors, as applicable, are authorized, without further approval of the Bankruptcy Court or any

         other party, to execute and deliver all agreements, documents, instruments and certificates

         relating to the Amended Organizational Documents and to take such other actions as reasonably

         deemed necessary to perform their obligations thereunder.

                        15.     New Stockholders’ Agreement and the Warrant Agreement. The Debtors

         and the Reorganized Debtors, as applicable, are authorized, without further approval of the

         Bankruptcy Court or any other party, to execute and deliver the New Stockholders’ Documents

         and the Warrant Documents and to take such other actions as reasonably deemed necessary to

         perform their obligations thereunder. On the Effective Date, Reorganized DB Investors, Inc. and


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         all of the holders of the New Common Stock shall be deemed to be parties to the New

         Stockholders’ Agreement, as a condition to such holders’ receipt of the New Common Stock

         pursuant to the Plan, without the need for execution by any such holder. Each of the Supporting

         Term Lenders, the Crossover Holder and the Supporting Noteholders entitled to receive the New

         Common Stock under the Plan shall be required to execute the New Stockholders’ Agreement

         and to provide such other documents as may be reasonably requested by the Debtors or

         Reorganized Debtors, as applicable, as a condition to receipt of such New Common Stock. The

         New Stockholders’ Agreement and the Warrant Agreement shall be binding on the Reorganized

         Debtors and all parties receiving, and all holders of, New Common Stock and the Warrants, as

         applicable; provided, that, regardless of whether such parties execute the New Stockholders’

         Agreement, such parties will be deemed to have signed the New Stockholders’ Agreement,

         which shall be as binding on such parties as if they had actually signed it.

                        16.     Designation of Managers/Directors and Officers Approved.            On the

         Effective Date, the initial board of managers/directors of the Reorganized Debtors shall be

         consistent with the terms of the Plan and the terms of the applicable Amended Organizational

         Documents of such Reorganized Debtors. Such appointment and designation is hereby approved

         and ratified as being in the best interests of the Debtors and creditors and consistent with public

         policy, and such directors hereby are deemed elected and appointed to serve in their respective

         capacities as of the Effective Date without further action of the Bankruptcy Court, the

         Reorganized Debtors or their security holders.

                        17.     Authorization to Consummate.            The Debtors are authorized to

         consummate the Plan after the entry of this Confirmation Order subject to satisfaction or waiver

         (by the required parties) of the conditions precedent to Consummation set forth in the Plan.


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                        18.     Exit Facility.

                        (a)     On the Effective Date, the Reorganized Debtors shall be authorized to

         execute and deliver, as applicable, the Exit Facility Documents and all related documents, and

         pay any and all applicable fees, expenses and other payments, including the Backstop Payment,

         due in connection with the Exit Facility Documents and all related documents.              All such

         documents shall become effective in accordance with their terms and the Plan.

                        (b)     Upon their execution, the Exit Facility Documents shall constitute legal,

         valid, binding and authorized debt obligations of each of the Reorganized Debtors, and the Exit

         Facility Documents shall be enforceable in accordance with their terms.               The financial

         accommodations to be extended pursuant to the Exit Facility Documents are being extended, and

         shall be deemed to have been extended, in good faith, for legitimate business purposes, are

         reasonable, shall not be subject to challenge, avoidance, recharacterization or subordination

         (including equitable subordination) for any purposes whatsoever, and shall not constitute

         preferential transfers, fraudulent conveyances or other voidable transfers under the Bankruptcy

         Code or any other applicable non-bankruptcy law.

                        (c)     On the Effective Date, all of the Liens, mortgages, deeds of trust, pledges

         and other security interests to be granted in accordance with the Exit Facility Documents (i) shall

         be deemed to be approved and granted in good faith, for good and valuable consideration, for

         reasonably equivalent value, and for legitimate business purposes as an inducement to lenders to

         extend credit thereunder and are reasonable, (ii) shall be valid, legal, binding and enforceable

         Liens on, and security interests in, the collateral granted under and in accordance with the terms

         of the respective Exit Facility Documents, (iii) shall be deemed fully perfected on the Effective

         Date, and the priorities of such Liens, mortgages, deeds of trust, and other security interests shall


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         be as set forth in the respective Exit Facility Documents and (iv) shall not be subject to

         avoidance, recharacterization or subordination (whether equitable, contractual or otherwise) or

         any other challenge for any purposes whatsoever under the Bankruptcy Code or any applicable

         non-bankruptcy law and shall not constitute preferential transfers, fraudulent conveyances or

         other voidable transfers under the Bankruptcy Code or any applicable non-bankruptcy law. The

         Reorganized Debtors and the secured parties (and their designees and agents (including the

         Priority Exit Facility Agent, the Exit ABL Facility Agent, and the Takeback Term Loan

         Agent)) under such Exit Facility Documents are hereby authorized to make all filings and

         recordings, and to obtain all governmental approvals and consents to evidence, establish,

         continue and perfect all such Liens, mortgages, deeds of trust and other security interests under

         the provisions of the applicable state, provincial, federal or other law (whether domestic or

         foreign) that would be applicable in the absence of the Plan and this Order (it being understood

         that perfection of the liens and security interests granted under the Exit Facility Documents shall

         occur automatically on the Effective Date by virtue of the entry of this Order, and any such

         filings, recordings, approvals and consents shall not be necessary or required), and the

         Reorganized Debtors shall thereafter cooperate to make all other filings and recordings that

         otherwise would be necessary under applicable law to give notice of such Liens, mortgages,

         deeds of trust and other security interests to third parties.

                         19.     Compromise of Controversies.            Pursuant to section 1123 of the

         Bankruptcy Code and Bankruptcy Rule 9019, the compromise and settlement of all Claims and

         controversies resolved under the Plan, as set forth in Article V of the Plan, is hereby approved in

         all respects as fair and equitable and in the best interests of the Debtors and the Estates.




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                        20.    Sources of Consideration for Plan Distributions.         All consideration

         necessary for the Reorganized Debtors to make payments pursuant to the Plan shall be obtained

         from existing Cash balances of the Debtors and the proceeds of the Exit Facility.

                        21.    Issuance of New Common Stock and the Warrants. On the Effective Date,

         the Debtors or the Reorganized Debtors, as applicable, are authorized to issue or cause to be

         issued and shall issue the New Common Stock (including the Supplemental Securities) and the

         Warrants in accordance with the terms of the Plan, the Amended Organizational Documents, the

         New Stockholders’ Agreement and the Warrant Agreement, without the need for any further

         corporate, limited liability company or shareholder action. All of the New Common Stock and

         the Warrants issuable under the Plan, when so issued, shall be duly authorized, validly issued,

         fully paid and non-assessable.

                        22.    Compliance with Section 1123(a)(6) of Bankruptcy Code. The adoption

         and filing by each of the Reorganized Debtors of an amended certificate of incorporation,

         substantially in the form included in the Plan Supplement, is hereby authorized, ratified and

         approved. The Debtors have complied in all respects, to the extent necessary, with section

         1123(a)(6) of the Bankruptcy Code.

                        23.    Exemption from Securities Laws. The offer, issuance and distribution of

         the New Common Stock and the Warrants to holders of the Prepetition Term Loan Claims or the

         Unsecured Notes Claims, as applicable, under Sections 4.4 and 4.5, respectively, of the Plan

         shall be exempt, pursuant to section 1145 of the Bankruptcy Code, without further act or action

         by any Entity, from registration under (i) the Securities Act and all rules and regulations

         promulgated thereunder and (ii) any state or local law requiring registration for the offer,

         issuance, or distribution of securities. The New Common Stock and the Warrants will be freely


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         tradable by the recipients thereof, subject to (i) the provisions of section 1145(b)(1) of the

         Bankruptcy Code relating to the definition of an underwriter in section 2(a)(11) of the Securities

         Act, (ii) compliance with any rules and regulations of the Securities and Exchange Commission,

         if any, applicable at the time of any future transfer of such securities or instruments, (iii) the

         restrictions, if any, on the transferability or ownership of the New Common Stock contained in

         the New Stockholders’ Agreement, (iv) the restrictions, if any, on the transferability or

         ownership of the Warrants contained in the Warrant Agreement; and (v) applicable regulatory

         approval. All securities described above were (or are designated to be) offered, issued and

         distributed pursuant to the Plan. Notwithstanding anything to the contrary in the Plan, any entity

         (including, for the avoidance of doubt, DTC) may rely upon the Plan or Confirmation Order in

         lieu of a legal opinion regarding the validity of any transaction contemplated by the Plan,

         including, for the avoidance of doubt, whether the New Common Stock and the Warrants and the

         shares of the New Common Stock (including any other securities issuable upon exercise of the

         Warrants) issued upon the exercise of the Warrants are exempt from registration and/or eligible

         for DTC book-entry delivery, settlement, and depository services.         DTC may accept and

         conclusively rely upon the Plan or Confirmation Order in lieu of a legal opinion regarding

         whether the New Common Stock and/or the Warrants and/or shares of the New Common Stock

         (including any other securities issuable upon exercise of Warrants) issued upon the exercise of

         the Warrants are exempt from registration and/or eligible for DTC book-entry delivery,

         settlement, and depository services.

                        24.    Cancellation of Existing Securities and Agreements.

                        (a)    Except for the purpose of evidencing a right to a distribution under the

         Plan and except as otherwise set forth in the Plan, including with respect to executory contracts


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         or unexpired leases that shall be assumed by the Reorganized Debtors, on the Effective Date, all

         agreements, instruments and other documents evidencing any Prepetition ABL Facility Claims,

         Prepetition Term Loan Claims, Unsecured Notes Claims or Parent Interests (other than

         Intercompany Interests that are not modified by the Plan) and any rights of any holder in respect

         thereof shall be deemed cancelled, discharged and of no force or effect, and the obligations of the

         Debtors thereunder shall be deemed fully satisfied, released and discharged. Notwithstanding

         such cancellation and discharge, the Prepetition ABL Agreement, the Prepetition Term Loan

         Agreement, and the Unsecured Notes Indenture shall continue in effect solely to the extent

         necessary to (a) allow the holders of Allowed Prepetition ABL Claims, Allowed Prepetition

         Term Loan Claims, and Allowed Unsecured Notes Claims to receive Distributions under the

         Plan, (b) allow the Debtors, the Reorganized Debtors, the Prepetition ABL Agent, the Prepetition

         Term Loan Agent, the Unsecured Notes Indenture Trustee, and the Disbursing Agent to make

         post-Effective Date Distributions or take such other action pursuant to the Plan on account of the

         Allowed Prepetition ABL Claims, Allowed Prepetition Term Loan Claims, and Allowed

         Unsecured Notes Claims, and to otherwise exercise their rights and discharge their obligations

         relating to the interests of the holders of such Claims in accordance with the Plan, and (c) permit

         the Prepetition ABL Agent, the Prepetition Term Loan Agent, and the Unsecured Notes

         Indenture Trustee to appear in the Chapter 11 Cases, provided that nothing in Section Error!

         eference source not found. of the Plan shall effect the discharge of Claims pursuant to the

         Bankruptcy Code, this Order or the Plan or result in any liability or expense to the Reorganized

         Debtors.

                        (b)    In addition to the foregoing, the Unsecured Notes Indenture shall continue

         in effect to the extent necessary to (i) permit the Unsecured Notes Indenture Trustee to assert its


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         Unsecured Notes Indenture Trustee Charging Lien; (ii) allow the Unsecured Notes Indenture

         Trustee to maintain any right of indemnification, contribution, subrogation or any other claim or

         entitlement it may have under the Unsecured Notes Indenture; (iii) exercise its rights and

         obligations relating to the interests of its holders under the Unsecured Notes Indenture; (iv)

         permit the Unsecured Notes Indenture Trustee to perform any functions that are necessary to

         effectuate the powers outlined in Section 5.8 of the Plan. Except for the foregoing, the Unsecured

         Notes Indenture Trustee and its respective agents shall be relieved of all further duties and

         responsibilities related to the Unsecured Notes Indenture and related documents and the Plan,

         except with respect to such other rights of the Unsecured Notes Indenture Trustee that, pursuant

         to the Unsecured Notes Indenture, survive the termination of the Unsecured Notes Indenture.

         Subsequent to the performance by the Unsecured Notes Indenture Trustee of its obligations

         pursuant to the Plan, the Unsecured Notes Indenture Trustee and its agents shall be relieved of all

         further duties and responsibilities related to the Unsecured Notes Indenture and shall be

         discharged.

                        25.    Cancellation of Liens. Except as otherwise specifically provided in the

         Plan, the Exit Facility Documents (including in connection with any express written amendment

         of any mortgage, deed of trust, Lien, pledge or other security interest under the Exit Facility

         Documents), or in any contract, instrument, release, or other agreement or document created

         pursuant to the Plan, including pursuant to Section 5.8(b) of the Plan, upon the indefeasible

         payment in full in Cash of an Other Secured Claim or ABL Facility Claim or upon the

         conversion or exchange in accordance with the Plan of the Prepetition Term Loan Claims into

         the consideration set forth in Section 4.4(c) of the Plan, any Lien securing an Other Secured

         Claim or ABL Facility Claim that is indefeasibly paid in full, in Cash, and any Lien securing a


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         Prepetition Term Loan Claim that is converted or exchanged in accordance with the Plan for the

         consideration set forth in Section 4.4(c) of the Plan, in each case, shall be deemed released and

         discharged, and the holder of such Other Secured Claim, ABL Facility Claim or Prepetition

         Term Loan Claim (or the Prepetition ABL Agent or Prepetition Term Loan Agent on behalf of

         the respective holders of such ABL Facility Claims and Prepetition Term Loan Claims) shall be

         authorized and directed to release any Collateral or other property of the Debtors (including any

         Cash collateral) held by such holder and to take such actions as may be requested by the

         Reorganized Debtors to evidence the release or discharge of such Lien, including the execution,

         delivery and filing or recording of such releases or discharges as may be requested by the

         Reorganized Debtors or may be required in order to terminate any related financing statements,

         mortgages, mechanic’s liens or lis pendens, and the Reorganized Debtors and their designees

         shall be authorized to file UCC-3 termination statements and other release or discharge

         documentation (to the extent applicable) with respect thereto.

                        26.    Preservation of Rights of Action. Unless any Causes of Action against an

         Entity are expressly waived, relinquished, exculpated, released, compromised, or settled in the

         Plan or by a Final Order, in accordance with section 1123(b) of the Bankruptcy Code, the

         Debtors or the Reorganized Debtors, as applicable, retain and may enforce all rights to

         commence and pursue any and all Causes of Action, whether arising before or after the Petition

         Date, including any actions specifically enumerated in the Plan Supplement, as set forth in the

         Plan. The Reorganized Debtors’ rights to commence, prosecute, or settle such Causes of Action

         shall be preserved notwithstanding the occurrence of the Effective Date. For the avoidance of

         doubt, the Debtors’ failure to list any Causes of Action in the Disclosure Statement, the Plan, the

         Plan Supplement, or otherwise in no way limits the rights of the Reorganized Debtors as set forth


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         above.   No Entity may rely on the absence of a specific reference in the Plan, the Plan

         Supplement, or the Disclosure Statement to any Cause of Action against it as indication that the

         Debtors or Reorganized Debtors, as applicable, will not pursue any and all available Causes of

         Action against it.

                        27.    Subordination. Except as otherwise expressly provided in the Plan, this

         Confirmation Order, and any other order of the Court: (a) the classification and manner of

         satisfying all Claims and Interests under the Plan takes into consideration all subordination

         rights, whether arising by contract or under general principles of equitable subordination, section

         510 of the Bankruptcy Code, or otherwise; (b) all subordination rights that a holder of a Claim or

         Interest may have with respect to any distribution to be made under the Plan, including any

         subordination rights or lien priority rights, shall be discharged and terminated and all actions

         related to the enforcement of such subordination rights shall be enjoined permanently; and

         (c) the distributions under the Plan to the holders of Allowed Claims and Interests will not be

         subject to payment of a beneficiary of such subordination rights, including any subordination

         rights or lien priority rights, or to levy, garnishment, attachment, or other legal process by a

         beneficiary of such terminated subordination rights.

                        28.    Assumption of Contracts and Leases.

                        (a)    Pursuant to Article VIII of the Plan, as of and subject to the occurrence of

         the Effective Date and the payment of any applicable Cure Amount, all executory contracts and

         unexpired leases to which any of the Debtors are parties, and which have not expired by their

         own terms on or prior to the Effective Date, including Employment Arrangements (subject to

         Section 5.12 of the Plan), shall be deemed assumed except for any executory contract or

         unexpired lease that (i) previously has been assumed, assumed and assigned or rejected pursuant


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         to a Final Order of the Bankruptcy Court, (ii) is the subject of a separate motion filed by the

         Debtors on or before the Confirmation Date seeking to assume, assume and assign, or reject

         pursuant to section 365 of the Bankruptcy Code, or (iii) is the subject of a pending Assumption

         Dispute. Subject to the occurrence of the Effective Date, entry of this Order by the Bankruptcy

         Court shall constitute approval of the assumptions of the Debtors’ executory contracts and

         unexpired leases provided for in the Plan pursuant to sections 365(a) and 1123 of the Bankruptcy

         Code, and all objections, if any, are overruled, unless resolved, adjourned or continued. Each

         executory contract and unexpired lease assumed pursuant to the Plan shall vest in and be fully

         enforceable by the applicable Reorganized Debtor in accordance with its terms, except as

         modified by any order of the Bankruptcy Court providing for its assumption, or applicable laws.

                        (b)    From and after the Effective Date, notwithstanding anything to the

         contrary in the Plan or this Order, including Sections 10.2, 10.3, 10.4, 10.5 and 10.6 of the Plan,

         nothing in the Plan or this Order shall affect the respective obligations of the Reorganized

         Debtors and the applicable counterparty to any executory contract or unexpired lease assumed

         pursuant to the Plan, this Order or another order of the Bankruptcy Court to comply with the

         terms of such assumed executory contract or unexpired lease (as applicable), except as modified

         by any order of the Bankruptcy Court providing for its assumption, and be liable (when and if

         applicable) for all obligations arising under such executory contracts or unexpired leases that are

         not otherwise due and owing as of the Effective Date and thus not required to be asserted as a

         Cure Amount, including (A) amounts owed or accruing under such leases that are unbilled or not

         yet due as of the Effective Date, regardless of when such amounts or obligations accrued, on

         account of common area maintenance, insurance, taxes, utilities and similar charges, (B) any

         regular or periodic adjustment or reconciliation of charges under such unexpired leases that are


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         not due or have not been determined as of the Effective Date, (C) any percentage rent that comes

         due under such unexpired leases, (D) post-assumption obligations under such unexpired leases,

         (E) any obligations to indemnify the non-Debtor counterparty under such unexpired leases for

         any claims of third parties pursuant to the terms of such unexpired leases, which are not known

         or liquidated by the time of the Confirmation Hearing (and therefore not yet payable as a cure

         cost pursuant to section 365(b)(1)(a) of the Bankruptcy Code), (F) any applicable obligations

         relating to the maintenance, replacement, and/or repair of the subject premises, including those

         related to environmental conditions, the roof, the parking lot and the heating, ventilation and air

         conditioning systems of the subject premises, and such deferred maintenance, replacement and

         repair obligations that may have arisen or accrued or continued to accrue over a period of time,

         both before and after the assumption of any such unexpired lease, and (G) any obligations arising

         under such unexpired leases as they come due, including between the Confirmation Date and the

         Effective Date. Other than with respect to Cure Amounts fixed in the ordinary course, through

         resolution of objections filed with the Bankruptcy Court prior to the Effective Date or

         specifically in connection with the Plan, all rights of the Debtors or Reorganized Debtors and the

         other counterparties to any assumed unexpired lease to dispute amounts due thereunder are

         preserved. For the avoidance of doubt, Cure Amounts are only required to be asserted in the

         ordinary course of business. In addition, for the further avoidance of doubt, the rights of the

         Reorganized Debtors and the non-Debtor parties under assumed unexpired leases shall not be

         improved by this Order or the Plan relative to such rights as they existed before the Petition Date.

                        (c)     Notwithstanding anything in the Plan to the contrary, if there is an

         Assumption Dispute pertaining to the assumption of an executory contract or unexpired lease,

         and such dispute is not resolved within 30 days after the later of the Confirmation Hearing or the


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         date of the asserted Cure Amount that is disputed, either the Debtors (or the Reorganized

         Debtors) or the non-Debtor party or parties under such executory contract or unexpired leases

         may schedule such matter to be heard by the Bankruptcy Court upon at least 21 days’ notice to

         the other party. If the Debtors or the Reorganized Debtors, as applicable, elect to assume the

         executory contract or unexpired lease that is the subject of an Assumption Dispute following the

         adjudication of such Assumption Dispute by the Bankruptcy Court (which right shall not be

         altered by this Order or the Plan) or agreement of the parties, the Debtors or the Reorganized

         Debtors (as applicable) shall pay any Cure Amounts determined by the Bankruptcy Court or

         agreed by the parties in connection with such adjudicated or resolved Assumption Dispute within

         10 calendar days of such adjudication or as otherwise provided in an order of the Bankruptcy

         Court or agreement of the parties. To the extent that specific Cure Amounts have been asserted

         by a non-Debtor party to an unexpired lease or executory contract on or before the deadline fixed

         by the Bankruptcy Court to object to the assumption or rejection of executory contracts and

         unexpired leases under the Plan (as may have been extended for certain parties by written

         consent of the Debtors) and such asserted Cure Amounts reflect amounts that are owed on

         account of existing defaults under an executory contract or unexpired lease, then the Debtors

         shall, on or before the Effective Date, inform in writing the non-Debtor party to such executory

         contract or unexpired lease (which may be an email to counsel for the non-Debtor party) of any

         disputes concerning such asserted Cure Amounts and pay the undisputed portion of such Cure

         Amounts on the Effective Date or as soon as reasonably practicable thereafter.

                       (d)     Notwithstanding anything to the contrary in the Plan, in the event the

         Debtors seek to assign certain executory contracts or unexpired leases to Affiliates prior to the

         Effective Date, the Debtors must provide at least 14 days’ notice to the non-Debtor counterparty


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         to such executory contract or unexpired lease and opportunity to object to such assignment,

         which notice and opportunity to object must include adequate assurance information for the

         specific proposed assignee entity that evidences the assignee’s ability to perform under the

         contract or lease designated for assignment.

                        (e)     Puerto Rico Lease. For the avoidance of doubt, the lease dated as of May

         20, 1999, by and between DDR Escorial LLC, S.E., as successor-in-interest to Plaza Escorial

         Partners, S.E. (the “Puerto Rico Landlord”), and David’s Bridal, Inc., as successor-in-interest

         to David’s Bridal of Puerto Rico, Inc., for the premises located at Plaza Escorial, 65th Infantry

         Avenue, KM 6.1 Carolina, PR 00985 (the “Puerto Rico Lease”), which the Debtors assert was

         terminated before the Petition Date, is not assumed under the Plan; if it is determined that the

         Puerto Rico Lease did not terminate before the Petition Date, then the Puerto Rico Lease shall be

         deemed rejected under the Plan and the Debtors would be responsible for payment of the Puerto

         Rico Landlord’s allowed claim, if any, under section 502(b)(6) of the Bankruptcy Code, subject

         to the Debtors’ right to dispute the validity and amount of any claim by the Puerto Rico

         Landlord. In addition, the Debtors dispute the amounts that have already been asserted by the

         Puerto Rico Landlord as being owed in relation to the Puerto Rico Lease. To the extent that the

         dispute over the Puerto Rico Lease cannot be resolved consensually within 30 days after the

         Effective Date, either party may seek the resolution of such dispute by the Bankruptcy Court on

         at least 21 days’ notice to the other party.

                        (f)     Ballard Landlords. Notwithstanding any provision of the Plan or this

         Confirmation Order to the contrary, with respect to the unexpired leases to which one or more of

         the Debtors and ARC CTCHRNC001, LLC, ARC SSSDLLA001, LLC, Brixmor Operating

         Partnership LP, Centerpoint Development Company, L.L.C., Federal Realty Investment Trust,


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         Gateway Pinole Vista, LLC, MANANA-DCIT, LLC, MT San Antonio I, LLC, PGIM Real

         Estate, R46 Realty Associates, L.P., Starwood Retail Partners, LLC, and The Macerich Company

         (collectively, the “Ballard Landlords”) are parties (collectively, the “Ballard Leases”), the

         Debtors and the Ballard Landlords have agreed upon the Cure Amounts as set forth in a side

         agreement (the “Side Agreement”), with the exception of $1,775.82 asserted for the unexpired

         lease located at the Stirling Slidell Center in Slidell, LA, which remains subject to further

         investigation by the parties (the “Slidell Cure”), and all rights are reserved to schedule the

         matter to be heard by the Bankruptcy Court should the parties fail to reach an agreement on the

         Slidell Cure within thirty (30) days of the Confirmation Date. Notwithstanding, in full resolution

         of the remaining outstanding items with respect to the objections filed by the Ballard Landlords

         [Docket Nos. 229 and 235], the Debtors and the Ballard Landlords agree that the Ballard Leases

         shall be assumed under the Plan, as of and subject to the Effective Date, and the Debtors or the

         Reorganized Debtors, as applicable, shall not have the ability to reject, or alter, modify, or

         supplement the treatment of a Ballard Lease at any time following the Confirmation Date for any

         reason, notwithstanding any provision of the Plan or this Confirmation Order to the contrary,

         except as otherwise consented to by the applicable Ballard Landlord. The Debtors are authorized

         to enter into the Side Agreement, and in the event of a dispute between any provision of the Plan

         or this Confirmation Order, and the matters addressed by the Side Agreement, the Side

         Agreement shall control.

                        29.    Notice of Assumption. On November 30, 2018, the Debtors filed and

         served the Notice of Assumption of Executory Contracts and Unexpired Leases of Debtors and

         Related Procedures (the “Assumption Notice”) [Docket No. 138]. The Assumption Notice

         states the Debtors’ intent to assume all executory contracts and unexpired leases. Pursuant to the


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         Plan, all obligations or Cure Amounts relating to executory contracts and unexpired leases shall

         be paid in the ordinary course. Any counterparty to an executory contract or unexpired lease had

         14 days from the service of the Assumption Notice to object to the proposed assumption. Any

         non-Debtor counterparty to an executory contract or unexpired lease that failed to object timely

         to the Assumption Notice, is deemed to have assented to assumption of the applicable executory

         contract or unexpired lease notwithstanding any provision thereof that purports to (i) prohibit,

         restrict or condition the transfer, assignment or sublease of such executory contract or unexpired

         lease, (ii) terminate or modify, or permit the termination or modification of, an executory

         contract or unexpired lease as a result of any direct or indirect transfer or assignment of the rights

         of the Debtors under such contract or lease or a change, if any, in the ownership or control as

         contemplated by the Plan, (iii) increase, accelerate or otherwise alter any obligations or liabilities

         of the Debtors or the Reorganized Debtors under such executory contract or unexpired lease, or

         (iv) create or impose a Lien upon any property or asset of the Debtors or the Reorganized

         Debtors, as applicable. Each such provision shall be deemed to not apply to the assumption of

         such executory contract or unexpired lease pursuant to the Plan, and, upon entry of this Order,

         non-Debtor counterparties shall forever be barred and enjoined from objecting to the Debtors’

         proposed assumption pursuant to the Plan or to the validity of the Debtors’ assumption pursuant

         to the Plan (including with respect to the provision of adequate assurance of future performance)

         or taking actions prohibited by the foregoing or the Bankruptcy Code on account of the

         transactions contemplated by the Plan. For the avoidance of doubt, Cure Amounts shall be

         satisfied in accordance with Section 8.3 of the Plan.

                        30.     Reservation of Rights in Favor of the United States. Notwithstanding any

         provision in the Plan, this Order or the related Plan Documents and Agreements: nothing


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         discharges or releases the Debtors, the Reorganized Debtors or any non-Debtor from any right,

         claim, liability or cause of action of the United States, or impairs the ability of the United States

         to pursue any claim, liability, right, defense or cause of action against any Debtor, Reorganized

         Debtor or non-Debtor. Contracts, purchase orders, agreements, leases, covenants, guaranties,

         indemnifications, operating rights agreements or other interests of or with the United States shall

         be, subject to any applicable legal or equitable rights or defenses of the Debtors or Reorganized

         Debtors under applicable non-bankruptcy law, paid, treated, determined and administered in the

         ordinary course of business as if the Debtors’ bankruptcy cases were never filed and the Debtors

         and Reorganized Debtors shall comply with all applicable non-bankruptcy law. All claims,

         liabilities, rights, causes of action or defenses of or to the United States shall survive the Chapter

         11 Cases as if they had not been commenced and be determined in the ordinary course of

         business, including in the manner and by the administrative or judicial tribunals in which such

         rights, defenses, claims, liabilities or causes of action would have been resolved or adjudicated if

         the Chapter 11 Cases had not been commenced; provided that nothing in the Plan or this Order

         shall alter any legal or equitable rights or defenses of the Debtors or the Reorganized Debtors

         under non-bankruptcy law with respect to any such claim, liability or cause of action. Without

         limiting the foregoing, for the avoidance of doubt: (i) the United States shall not be required to

         file any proofs of claim or administrative expense claims in the Chapter 11 Cases for any right,

         claim, liability, defense or cause of action; (ii) nothing shall affect or impair the exercise of the

         United States’ police and regulatory powers against the Debtors, the Reorganized Debtors or any

         non-Debtor; (iii) nothing shall be interpreted to set cure amounts or to require the United States

         to novate or otherwise consent to the transfer of any federal or state contracts, purchase orders,

         agreements, leases, covenants, guaranties, indemnifications, operating rights, agreements or


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         other interests; (iv) nothing shall affect or impair the United States’ rights and defenses of setoff

         and recoupment, or ability to assert setoff or recoupment against the Debtors or the Reorganized

         Debtors and such rights and defenses are expressly preserved; (v) nothing shall constitute an

         approval or consent by the United States without compliance with all applicable legal

         requirements and approvals under non-bankruptcy law, and (vi) nothing shall relieve any party

         from compliance with all licenses and permits in accordance with non-bankruptcy law.

                        31.     Reservation of Rights in Favor of Texas Comptroller of Public Accounts.

         Notwithstanding anything to the contrary in the Plan or Confirmation Order, nothing in the Plan

         or Confirmation Order: (i) releases any person or entity other than the Debtors, the Debtors’

         Bankruptcy Estate, the Reorganized Debtors, or the Reorganized Debtors’ assets from any Claim

         or cause of action held by the Texas Comptroller of Public Accounts; or (ii) enjoins, limits,

         impairs or delays the Texas Comptroller of Public Accounts from commencing or continuing any

         Claim, suit, action, proceeding, cause of action, or investigation against any person or entity

         other than the Debtors, the Debtors’ bankruptcy Estates, the Reorganized Debtors, or the

         Reorganized Debtors’ assets. Moreover, nothing in the Plan or in the Confirmation Order shall

         discharge, release, enjoin or otherwise bar any valid right of setoff or recoupment of the Texas

         Comptroller of Public Accounts.

                        32.     Conditions to Effective Date. The Plan shall not become effective unless

         and until the conditions set forth in Section 9.2 of the Plan have been satisfied or waived

         pursuant to Section 9.3 of the Plan. In the event that one or more of the conditions specified in

         Section 9.2 of the Plan have not occurred and the Effective Date has not occurred on or before

         the first Business Day that is more than 60 days after the date on which this Order is entered or

         by such later date as set forth by the Debtors in a notice filed with the Bankruptcy Court prior to


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         the expiration of such period, the Plan shall be null and void in all respects and nothing contained

         in the Plan or the Disclosure Statement shall (a) constitute a waiver or release of any Claims

         against or any Interests in the Debtors or claims by the Debtors; (b) prejudice in any manner the

         rights of any Entity; or (c) constitute an admission, acknowledgement, offer, or undertaking by

         the Debtors, any of the Supporting Term Lenders, the Crossover Holder, the Supporting

         Noteholders or any other Entity.

                        33.     Professional Compensation.         All Entities seeking an award by the

         Bankruptcy Court of Professional Fee Claims shall file and serve on counsel for the Reorganized

         Debtors, the U.S. Trustee, counsel for the Supporting Term Lenders, counsel for the Crossover

         Holder, counsel for the Supporting Noteholders, and such other Entities who are designated by

         the Bankruptcy Rules, this Order, or other order of the Bankruptcy Court, on or before the date

         that is 45 days after the Effective Date, their respective first and final applications for allowance

         of compensation for services rendered and reimbursement of expenses incurred from the Petition

         Date through the Effective Date. Objections to any Professional Fee Claims must be filed and

         served on counsel for the Reorganized Debtors, counsel for the Supporting Term Lenders,

         counsel for the Crossover Holder, counsel for the Supporting Noteholders, and the requesting

         party no later than 21 calendar days after the filing of the final applications for compensation or

         reimbursement (unless otherwise agreed by the party requesting compensation of a Professional

         Fee Claim). Allowed Professional Fee Claims shall be paid in full, in Cash, in such amounts as

         are Allowed by the Bankruptcy Court (a) upon the later of (i) the Effective Date, and (ii) the date

         upon which an order relating to any such Allowed Professional Fee Claim is entered, in each

         case, as soon as reasonably practicable, or (b) upon such other terms as may be mutually agreed

         upon between the holder of such an Allowed Professional Fee Claim and the Debtors or the


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         Reorganized Debtors, as applicable. On or about the Effective Date, holders of Professional Fee

         Claims shall provide a reasonable estimate of their Professional Fee Claims incurred in rendering

         services to the Debtors or the Estates as of the Effective Date; provided that such estimate shall

         not be deemed to limit the amount of the fees and expenses that are the subject of the

         Professional’s request for payment of Professional Fee Claims. The Debtors or the Reorganized

         Debtors shall either escrow or separately reserve for and segregate such estimated amounts for

         the benefit of the holders of the Professional Fee Claims until the fee applications related thereto

         are resolved by order of the Bankruptcy Court or agreement of the parties. In addition, to the

         extent that Evercore Group L.L.C. has not been retained by the Debtors before the Effective

         Date, the Debtors shall escrow the amount of any unpaid fee claims of Evercore Group L.L.C.

         pending resolution of the disputes concerning its retention application. The Reorganized Debtors

         are authorized to pay compensation or services rendered or reimbursement of expenses incurred

         after the Effective Date in the ordinary course and without the need for Bankruptcy Court

         approval.

                        34.     Discharge of Claims and Termination of Interests. Subject to Paragraph

         39 of this Order, upon the Effective Date and in consideration of the distributions to be made

         under the Plan, except as otherwise expressly provided in the Plan or this Order, each holder (as

         well as any representatives, trustees or agents on behalf of each holder) of Claims or Interests

         and any affiliate of such holder shall be deemed to have forever waived, released and discharged

         the Debtors, to the fullest extent permitted by section 1141 of the Bankruptcy Code, of and from

         any and all Claims, Interests, rights and liabilities that arose prior to the Effective Date. Upon

         the Effective Date, all such Entities shall be forever precluded and enjoined, pursuant to section

         524 of the Bankruptcy Code, from prosecuting or asserting any such discharged Claim against or


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         terminated Interest in the Debtors against the Debtors, Reorganized Debtors, or any of its or their

         assets or property, whether or not such holder has filed a proof of Claim and whether or not the

         facts or legal bases therefor were known or existed prior to the Effective Date.

                        35.     Injunction, Release and Exculpation Provisions. Subject to Paragraph 39

         of this Order, all injunctions and releases set forth in the Plan, including those contained in

         Sections 10.5 and 10.6 of the Plan, are approved and shall be effective and binding on all persons

         and Entities, to the extent provided therein, as of the Effective Date; provided that nothing in this

         Order or in the Plan shall in any way limit, reduce or otherwise bar, except to the extent limited

         by the Bankruptcy Code, including section 502(b)(6), an otherwise valid and enforceable right of

         setoff, subrogation or recoupment against the Debtors; provided further that notwithstanding

         anything to the contrary in the Plan, the injunction provided for under Section 10.5 of the Plan

         shall not take effect until the occurrence of the Effective Date. All exculpation provisions set

         forth in the Plan, including those contained in Section 10.7 of the Plan, are approved and

         authorized to the fullest extent permitted under section 1125(e) of the Bankruptcy Code.

                        36.     Retention of Causes of Action/Reservation of Rights. Except as otherwise

         provided in the Plan, including in Sections 10.5, 10.6 and 10.7 of the Plan, nothing contained in

         the Plan or this Order shall be deemed to be a waiver or relinquishment of any rights, claims,

         Causes of Action, rights of setoff or recoupment, or other legal or equitable defenses that the

         Debtors had immediately prior to the Effective Date on behalf of the Estates or of themselves in

         accordance with any provision of the Bankruptcy Code or any applicable nonbankruptcy law,

         including any affirmative Causes of Action against parties with a relationship with the Debtors.

         The Reorganized Debtors shall have, retain, reserve and be entitled to assert all such claims,

         Causes of Action, rights of setoff or recoupment, and other legal or equitable defenses as fully as


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         if the Chapter 11 Cases had not been commenced, and all of the Debtors’ legal and equitable

         rights in respect of any Causes of Action may be asserted after the Confirmation Date and the

         Effective Date to the same extent as if the Chapter 11 Cases had not been commenced.

         Notwithstanding the foregoing, the Debtors and the Reorganized Debtors shall not retain any

         Claims or Causes of Action released pursuant to Sections 10.5, 10.6, and 10.7 of the Plan against

         the Released Parties or arising under chapter 5 of the Bankruptcy Code (except that such Claims

         or Causes of Action may be asserted as a defense to a claim in connection with the claims

         reconciliation and objection procedures pursuant to section 502(d) of the Bankruptcy Code or

         otherwise).

                        37.     Terms of Injunctions or Stay. Subject to Paragraph 39 of this Order,

         unless otherwise provided in the Plan or in a Final Order of the Bankruptcy Court, all injunctions

         or stays arising under or entered during the Chapter 11 Cases under section 105 or 362 of the

         Bankruptcy Code, or otherwise, and in existence on the Confirmation Date, are hereby approved

         or confirmed and shall remain in full force and effect until the later of the Effective Date or the

         date indicated in the order providing for such injunction or stay.

                        38.     Injunction Against Interference with Plan. Subject to Paragraph 39 of this

         Order, upon entry of this Order, all holders of Claims and Interests and other parties in interest,

         along with their respective present or former employees, agents, officers, directors, principals,

         and affiliates, shall be enjoined from taking any actions to interfere with the implementation or

         consummation of the Plan. Except as expressly provided in the Plan, this Order or a separate

         order of the Bankruptcy Court or as agreed to by the Debtors and a holder of a Claim against or

         Interest in the Debtors, all Entities who have held, hold, or may hold Claims against or Interests

         in any or all of the Debtors (whether proof of such Claims or Interests has been filed or not and


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         whether or not such Entities vote in favor of, against or abstain from voting on the Plan or are

         presumed to have accepted or deemed to have rejected the Plan) and other parties in interest,

         along with their respective present or former employees, agents, officers, directors, principals,

         and affiliates, are permanently enjoined, on and after the Effective Date, solely with respect to

         any Claims, Interests, and Causes of Action that will be or are extinguished, discharged or

         released pursuant to the Plan from (i) commencing, conducting or continuing in any manner,

         directly or indirectly, any suit, action or other proceeding of any kind (including any proceeding

         in a judicial, arbitral, administrative or other forum) against or affecting the Released Parties or

         the property of any of the Released Parties, (ii) enforcing, levying, attaching (including any

         prejudgment attachment), collecting or otherwise recovering by any manner or means, whether

         directly or indirectly, any judgment, award, decree or order against the Released Parties or the

         property of any of the Released Parties, (iii) creating, perfecting or otherwise enforcing in any

         manner, directly or indirectly, any encumbrance of any kind against the Released Parties or the

         property of any of the Released Parties, (iv) asserting any right of setoff, directly or indirectly,

         against any obligation due the Released Parties or the property of any of the Released Parties,

         except as contemplated or allowed by the Plan, and (v) acting or proceeding in any manner, in

         any place whatsoever, that does not conform to or comply with the provisions of the Plan. By

         accepting distributions pursuant to the Plan, each holder of an Allowed Claim or Interest shall be

         deemed to have affirmatively and specifically consented to be bound by the Plan, including the

         injunctions set forth in Section 10.5 of the Plan. The injunctions in Section 10.5 of the Plan shall

         extend to any successors of the Debtors and the Reorganized Debtors and their respective

         property and interests in property.




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                        39.    Limitation on Discharge and Modification of Automatic Stay and

         Injunction for Prepetition Actions. Notwithstanding anything to the contrary in the Plan or in

         this Order, (a) each Unimpaired Claim arising prior to the Effective Date (including Cure

         Amounts and Claims arising out of or relating to the rejection of an unexpired non-residential

         real property lease) of the Plan, shall not be deemed settled, satisfied, resolved, released,

         discharged, barred or enjoined by any provision of the Plan or any Definitive Documents as

         against the Debtors or the Reorganized Debtors, and (b) the property of the Estates that vests in

         the Reorganized Debtors pursuant to Section 10.1 of the Plan shall not be free and clear of such

         Unimpaired Claim, in each case, until such Unimpaired Claim has been (x) paid in full in

         accordance with applicable law, or on terms agreed to between the holder of such Claim and the

         Debtors or the Reorganized Debtors, or in accordance with the terms and conditions of the

         particular transaction giving rise to such Unimpaired Claim or (y) otherwise satisfied or disposed

         of as determined by a court of competent jurisdiction. The Debtors, the Reorganized Debtors

         and any other Entity shall retain all defenses, counterclaims, rights of setoff and rights of

         recoupment, if any, as to Unimpaired Claims.         For the avoidance of doubt, the foregoing

         limitation shall not apply to any Claims or Causes of Action held by the Debtors, the Estates or

         the Reorganized Debtors that are released pursuant to Section 10.6(a) of the Plan (the “Debtor

         Released Claims”). Such Debtor Released Claims shall be deemed settled, satisfied, resolved,

         released, discharged, barred and/or enjoined by the applicable provisions under, and pursuant to

         the express terms of, the Plan and the Definitive Documents on the Effective Date. For the

         avoidance of doubt, notwithstanding any other provision in this Order or the Plan, on or after the

         Effective Date, the injunction in Section 10.5 of the Plan shall not apply to the action entitled

         Jenny Yoo Collection, Inc. v. David’s Bridal, Inc. and Clayton, Dubilier & Rice, LLC, U.S.


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         District Court for the Southern District of New York, Case No. 18-09926, and the injunction in

         Section 10.5(b) and (c) of the Plan shall not apply to (i) Jenny Yoo Collection, Inc.,

         (ii) Cumberland Avenue Plaza, L.L.C., (iii) the holder of Unsecured Notes who exercised the

         opt-out election on its Ballot as indicated on the Voting Certification. Further, nothing in the

         Plan, nor the entry of this Order, shall prejudice any rights of Jenny Yoo Collection, Inc. to file

         and pursue a motion to lift the stay with respect to its claims and the aforementioned lawsuit.

                        40.    Survival of Debtors’ Indemnification Obligations. Pursuant to Section 8.4

         of the Plan, subject to the occurrence of the Effective Date, any obligations of the Debtors

         pursuant to their corporate charters, bylaws, limited liability company agreements or other

         organizational documents to indemnify current and former officers, directors, agents, and/or

         employees with respect to all present and future actions, suits and proceedings against the

         Debtors or such directors, officers, agents and/or employees, based upon any act or omission for

         or on behalf of the Debtors, shall not be discharged or impaired by confirmation of the Plan;

         provided, that the Reorganized Debtors shall not indemnify directors of the Debtors for any

         Claims or Causes of Action arising out of or relating to any act or omission that constitutes

         intentional fraud, gross negligence or willful misconduct. All such obligations shall be deemed

         and treated as executory contracts to be assumed by the Debtors under the Plan and shall

         continue as obligations of the Reorganized Debtors. Any claim based on such obligations shall

         not be a Disputed Claim or subject to any objection by reason of section 502(e)(1)(B) of the

         Bankruptcy Code. None of the Reorganized Debtors shall amend and/or restate their respective

         governance documents before or after the Effective Date to terminate or adversely affect any

         obligations to provide such indemnification rights or such directors’, officers’, employees’, or

         agents’ indemnification rights. In addition, after the Effective Date, the Reorganized Debtors


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         shall not terminate or otherwise reduce the coverage under any directors’ and officers’ insurance

         policies (including any “tail policy”) in effect or purchased as of the Petition Date, and all

         members, managers, directors, and officers who served in such capacity at any time before the

         Effective Date shall be entitled to the full benefits of any such policy for the full term of such

         policy, regardless of whether such members, managers, directors, and/or officers remain in such

         positions after the Effective Date, in each case, to the extent set forth in such policies. On the

         Effective Date, all guarantees, indemnities or other credit support provided by a Debtor in

         support of the primary obligations of another Debtor described in Section 8.4(a) of the Plan shall

         be Unimpaired by the Plan and Reinstated to their position immediately prior to the Petition

         Date.

                        41.    Survival of Debtor and Non-Debtor Lease Guarantee Obligations.

         Notwithstanding anything in the Plan or this Order, or the releases contained in Article X of the

         Plan, on the Effective Date, (a) all guarantees, indemnities or other credit support provided by a

         Debtor in support of the obligations under an assumed lease of another Debtor shall be

         unaffected by the Plan, and (b) any liability or obligation of any non-Debtor third party to any

         landlord arising under or in connection with an assumed or rejected unexpired nonresidential real

         property lease shall remain unaffected.

                        42.    Insurance Policies.

                        (a)    Pursuant to Section 8.5 of the Plan, on the Effective Date, all insurance

         policies (including all directors’ and officers’ insurance policies and tail coverage liability

         insurance policies) pursuant to which any Debtor has any obligation in effect as of the date of the

         Confirmation Order and any related agreements, documents or instruments (collectively, the

         “Insurance Contracts”) shall be deemed and treated as executory contracts pursuant to the Plan


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         and shall be assumed by the respective Debtors and the Reorganized Debtors and shall continue

         in full force and effect thereafter in accordance with their respective terms. All other insurance

         policies shall vest in the Reorganized Debtors.

                        (b)     On and after the Effective Date, the Reorganized Debtors shall become

         and remain liable for all of the Debtors’ obligations under the Insurance Contracts, regardless of

         whether such obligations arise before or after the Effective Date, without the requirement or need

         for any insurer to file a proof of claim or an Administrative Expense Claim, or object to any Cure

         Amount.

                        (c)     To the extent applicable, the automatic stay arising under section 362 of

         the Bankruptcy Code and the injunctions provided for in Section 10.5 of the Plan shall be

         deemed lifted without further order of the Bankruptcy Court, solely to permit: (i) claimants with

         valid workers’ compensation claims or with valid direct action claims against an insurer under

         applicable non-bankruptcy law to proceed with their claims; (ii) the insurers to administer,

         handle, defend, settle and/or pay, in the ordinary course of business and without further order of

         the Bankruptcy Court, (A) workers’ compensation claims, (B) claims where a claimant asserts a

         direct claim against any insurer under applicable non-bankruptcy law, or where an order has

         been entered by the Bankruptcy Court granting a claimant relief from the automatic stay or the

         injunctions set forth in Article X of the Plan to proceed with its claim, and (C) all costs in

         relation to each of the foregoing; (iii) any insurer to draw against any or all of the collateral or

         security provided by or on behalf of the Debtors and/or the Reorganized Debtors, as applicable,

         and/or apply such proceeds to the obligations of the Debtors and/or the Reorganized Debtors, as

         applicable, under the Insurance Contracts; and (iv) the insurers to cancel any Insurance




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         Contracts, and take other action relating thereto and to the extent permitted under applicable

         non-bankruptcy law and in accordance with the terms of the Insurance Contracts.

                        43.    Intellectual Property Licenses and Agreements. All intellectual property

         contracts, licenses, royalties or other similar agreements to which the Debtors have any rights or

         obligations in effect as of the Confirmation Date shall be deemed and treated as executory

         contracts pursuant to the Plan and shall be assumed by the respective Debtors and shall continue

         in full force and effect unless any such intellectual property contract, license, royalty or other

         similar agreement otherwise is specifically rejected pursuant to a separate order of the

         Bankruptcy Court or is the subject of a separate rejection motion filed by the Debtors (with the

         consent of the Required Supporting Term Lenders and the Crossover Holder) in accordance with

         Section 8.1 of the Plan. Unless otherwise noted under the Plan, all other intellectual property

         contracts, licenses, royalties, or other similar agreements shall vest in the Reorganized Debtors

         and the Reorganized Debtors may take all actions as may be necessary or appropriate to ensure

         such vesting as contemplated in the Plan.

                        44.    Employee Matters.

                        (a)    Except as provided in Section 5.12(c) of the Plan, on the Effective Date,

         the Reorganized Debtors shall be deemed to have assumed all Employee Arrangements. None of

         the Benefit Plans provide for retiree benefits (as such term is defined in section 1114 of the

         Bankruptcy Code) or is a defined benefit pension plan or multi-employer pension plan. The

         consummation of the Plan shall not be treated as a change in control or change of control or other

         similar transaction under any Employment Arrangement.

                        (b)    Any Parent Interests granted prior to the Effective Date to a current or

         former employee, officer, director or contractor under an Employee Arrangement or otherwise


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         shall be deemed cancelled on the Effective Date. For the avoidance of doubt, if a Benefit Plan or

         an Employee Arrangement is assumed and the Benefit Plan or Employee Arrangement provides

         in part for an award or potential award of Interests in the Debtors, such Benefit Plan or

         Employment Arrangement shall be assumed in all respects other than the provisions of such

         agreement relating to Interest awards.

                        45.     U.S. Trustee Matters. Notwithstanding anything set forth in the Plan or

         this Order to the contrary:

                        (a)     the U.S. Trustee’s right to object to any filed proofs of claim or requests

         for payment of Administrative Expense Claims filed with the Bankruptcy Court is reserved;

                        (b)     confirmation of the Plan shall not be deemed to be approval of the terms

         and conditions of the Management Incentive Plan in any respect; provided that the foregoing

         shall not (i) prejudice or be deemed to prejudice the Reorganized Debtors’ rights to enter into the

         Management Incentive Plan after the Effective Date, (ii) otherwise modify Sections 1.73 or

         5.12(b) of the Plan, or (iii) modify the aggregate allocation of the New Common Stock to be

         reserved for issuance under the Management Incentive Plan as set forth in the Plan; and

                        (c)     after the occurrence of the Effective Date, the Reorganized Debtors shall

         serve all documents that they file in the Chapter 11 Cases on all parties whose rights are affected

         by such documents.

                        46.     Plan Implementation.

                        (a)     In accordance with section 1142 of the Bankruptcy Code and any

         provisions of the business corporation law of any applicable jurisdiction (collectively, the

         “Reorganization Effectuation Statutes”), including section 303 of the Delaware General

         Corporation Law, without further action by the Bankruptcy Court or the equity security holders,


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         officers, members, managers or directors of any Debtor or Reorganized Debtor, the Debtors and

         the Reorganized Debtors, as well as the officers of the appropriate Debtor or Reorganized Debtor

         are authorized to: (i) take any and all actions necessary or appropriate to implement, effectuate

         and consummate the Plan, the Plan Documents and Agreements, the Definitive Documents, this

         Order and the transactions contemplated thereby or hereby, including the transactions identified

         in Section 5.10 of the Plan; and (ii) execute and deliver, adopt or amend, as the case may be, any

         contracts, instruments, releases, agreements and documents necessary to implement, effectuate

         and consummate the Plan.

                        (b)     Except as set forth in the Plan, all actions authorized to be taken pursuant

         to the Plan, the Plan Documents and Agreements, and the Definitive Documents, including, but

         not limited to, (i) the adoption or assumption, as appropriate, of any executory contracts,

         (ii) selection of the managers, directors and officers, as appropriate, for the Reorganized Debtors,

         (iii) issuances and distributions of the New Common Stock (including the Supplemental

         Securities) and the Warrants, and (iv) entry into any contracts, instruments, releases, agreements

         and documents (including the Exit Facility Documents) necessary to implement, effectuate and

         consummate the Plan, shall be effective prior to, on, or after the Effective Date pursuant to this

         Order, without further notice, application to, or order of the Bankruptcy Court, or further action

         by the respective managers, officers, directors, members or equity holders of the Debtors or the

         Reorganized Debtors.

                        (c)     To the extent that, under applicable non-bankruptcy law, any of the

         foregoing actions would otherwise require the consent or approval of the equity security holders,

         members, managers or directors of any of the Debtors or the Reorganized Debtors, this Order

         shall, pursuant to section 1142 of the Bankruptcy Code and the Reorganization Effectuation


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         Statutes (including section 303 of the Delaware General Corporation Law), constitute such

         consent or approval, and such actions are deemed to have been taken by unanimous action of the

         directors, managers, members and equity holders of the appropriate Debtor or Reorganized

         Debtor, as applicable.

                        (d)       Each Governmental Unit is hereby authorized to accept any and all

         documents, mortgages, security agreements, financing statements and instruments necessary or

         appropriate to effectuate, implement or consummate the transactions contemplated by the Plan,

         the Exit Facility Documents, the New Common Stock Documents, the Warrant Documents, the

         Amended Organizational Documents and this Order.

                        (e)       All implementation steps necessary for consummation of the Plan taken

         prior to entry of this Order are hereby authorized.

                        47.       Intercompany Claims. On the Effective Date, or as soon as practicable

         thereafter, all Intercompany Claims shall be paid, adjusted, continued, settled, Reinstated,

         discharged, contributed to capital, or eliminated, in each case to the extent determined to be

         appropriate by the Debtors (with the consent of the Required Supporting Term Lenders and the

         Crossover Holder) or the Reorganized Debtors, as applicable, subject to the terms of the

         Restructuring Transactions.

                        48.       Documents,   Mortgages,      and   Instruments.   Each   federal,   state,

         commonwealth, local, foreign, or other governmental agency is hereby authorized to accept any

         and all documents, mortgages, and instruments necessary or appropriate to effectuate, implement

         or consummate the transactions contemplated by the Plan (including the Amended

         Organizational Documents and the Exit Facility Documents) and this Order.




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                        49.     Retention of Jurisdiction. On and after the Effective Date, pursuant to

         sections 105(c) and 1142 of the Bankruptcy Code, the Bankruptcy Court, except as otherwise

         provided in the Plan or this Order, shall, to the extent permitted by applicable law, retain

         jurisdiction over all matters arising out of, and related to, the Chapter 11 Cases, including

         jurisdiction over the matters set forth in Article XI of the Plan; provided that on and after the

         Effective Date and after the consummation of the following agreements or documents, the

         Bankruptcy Court shall not retain jurisdiction over matters arising out of or related to each of the

         Exit Facility Documents, the Amended Organizational Documents, the New Stockholders’

         Agreement and the Warrant Agreement, and the Exit Facility Documents, the Amended

         Organizational Documents, the New Stockholders’ Agreement and the Warrant Agreement shall

         be governed by the respective jurisdictional provisions therein.

                        50.     Post-Confirmation Modifications. Without the need for further order or

         authorization of the Court, the Debtors are authorized and empowered, prior to the Effective

         Date, to make any and all modifications to any and all documents that are necessary to effectuate

         the Plan that do not materially modify the terms of such documents and are consistent with the

         Plan (subject to any applicable consents or consultation rights set forth therein) and the

         Restructuring Support Agreement (subject to any applicable consents or consultation rights set

         forth therein). Subject to the requirements set forth in section 1127 of the Bankruptcy Code and

         Bankruptcy Rule 3019, and those restrictions on modifications set forth in the Plan and the

         Restructuring Support Agreement, the Debtors expressly reserve their respective rights to revoke

         or withdraw, or to alter, amend, or modify materially the Plan, one or more times after

         Confirmation and prior to the Effective Date, and, to the extent necessary, may, prior to the

         Effective Date, initiate proceedings in the Court to so alter, amend, or modify the Plan, or


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         remedy any defect or omission, or reconcile any inconsistencies in the Plan, the Disclosure

         Statement, or this Confirmation Order, in such manner as may be necessary to carry out the

         purposes and intent of the Plan. Any such modification or supplement shall be considered a

         modification of the Plan and shall be made in accordance with Section 12.5 of the Plan and

         subject to the terms of the Restructuring Support Agreement.

                        51.    Provisions of Plan and Confirmation Order Nonseverable and Mutually

         Dependent. Each provision of the Plan is: (a) valid and enforceable in accordance with its

         terms; (b) integral to the Plan and may be deleted or modified only prior to the Effective Date

         and with the Debtors’ consent, consistent with the terms set forth in the Plan, the Plan

         Supplement and the Restructuring Support Agreement; and (c) nonseverable and mutually

         dependent.

                        52.    Headings. Headings utilized herein are for convenience and reference

         only, and do not constitute a part of the Plan or this Confirmation Order for any other purpose.

                        53.    Governing Law. Except to the extent that the Bankruptcy Code or other

         federal law is applicable, or to the extent an exhibit hereto or a schedule in the Plan Supplement

         or a Definitive Document provides otherwise, the rights, duties and obligations arising under the

         Plan shall be governed by, and construed and enforced in accordance with, the laws of the State

         of New York, without giving effect to the principles of conflict of laws thereof.

                        54.    Applicable Non-Bankruptcy Law.           Pursuant to sections 1123(a) and

         1142(a) of the Bankruptcy Code, the provisions of this Order, the Plan and related documents or

         any amendments or modifications thereto shall apply and be enforceable notwithstanding any

         otherwise applicable non-bankruptcy law.




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                         55.    Waiver of Filings. Any requirement under section 521 of the Bankruptcy

         Code or Bankruptcy Rule 1007 obligating the Debtors to file any list, schedule, or statement with

         the Bankruptcy Court or the Office of the U.S. Trustee (except for monthly operating reports or

         any other post-confirmation reporting obligation to the U.S. Trustee) is hereby waived as to any

         such list, schedule or statement not filed as of the Confirmation Date.

                         56.    Compliance with Tax Requirements. In connection with the Plan, to the

         extent applicable, the Reorganized Debtors and the Disbursing Agent shall comply with all tax

         withholding and reporting requirements imposed on them by any Governmental Unit, and all

         distributions pursuant to the Plan shall be subject to such withholding and reporting

         requirements.    Notwithstanding any provision in the Plan to the contrary, the Reorganized

         Debtors and the Disbursing Agent shall be authorized to take all actions necessary or appropriate

         to comply with such withholding and reporting requirements, including at the Debtors’,

         Reorganized Debtors’, and Disbursing Agent’s option, liquidating a portion of the distribution to

         be made under the Plan to generate sufficient funds to pay applicable withholding taxes and

         withholding distributions pending receipt of information necessary to facilitate such

         distributions. The Reorganized Debtors reserve the right to allocate all distributions made under

         the Plan in compliance with all applicable wage garnishments, alimony, child support, and other

         spousal awards, liens, and encumbrances.

                         57.    Exemption from Certain Taxes.         Pursuant to section 1146(a) of the

         Bankruptcy Code, any transfers of property pursuant to the Plan and the issuance, transfer, or

         exchange of notes or debt or equity securities under the Plan shall not be subject to any law

         imposing a stamp tax or similar tax, and appropriate state or local governmental officials or

         agents shall forgo the collection of any such tax or governmental assessment and are authorized


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         to accept for filing and recordation instruments or other documents pursuant to such transfers of

         property without the payment of any such tax or governmental assessment. All recording and

         filing officers and clerks wherever located are authorized to accept for filing or recording upon

         presentation thereof, any mortgage, deed of trust or other instrument of transfer related to the

         transactions described in the Plan without payment of any stamp tax or similar tax. The Debtors

         are hereby authorized to deliver a notice or short form of this Confirmation Order to any state

         recording officer to the effect that such officer may accept for filing such security interests

         without charging any stamp tax or other similar tax or fee within the scope of section 1146(a) of

         the Bankruptcy Code.

                        58.     Governmental Approvals Not Required. Subject to Paragraph 30 of this

         Order, this Order shall constitute all approvals and consents required, if any, by the laws, rules,

         or regulations of any state or other governmental authority with respect to the implementation or

         consummation of the Plan and the Disclosure Statement, any documents, instruments or

         agreements, and any amendments or modifications thereto, and any other acts referred to in, or

         contemplated by, the Plan and the Disclosure Statement.

                        59.     Resolution of Comenity Capital Bank’s Objection.           Notwithstanding

         anything to the contrary in this Order or the Plan, in full resolution of the objections of Comenity

         Capital Bank (“Comenity”) as set forth in Comenity Capital Bank’s Limited Objection and

         Reservation of Rights with Respect to (1) the Notice of Assumption of Executory Contracts and

         Unexpired Leases of Debtors and Related Procedures and (2) the Proposed Joint Prepackaged

         Plan of Reorganization under Chapter 11 of the Bankruptcy Code (D.I. 246):

                        (a)     as of and subject to the occurrence of the Effective Date, the Private Label

         Credit Card Plan Agreement dated May 27, 2010, between David’s Bridal, Inc. and Comenity (as


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         amended, the “Program Agreement”) is assumed by David’s Bridal, Inc. (including such Entity

         as reorganized pursuant to the Plan; individually and/or collectively, “David’s”), in accordance

         with 11 U.S.C. § 365(a), and David’s shall remain liable for all obligations and amounts due

         Comenity under the Program Agreement and all of Comenity’s rights, interests and defenses

         under the Program Agreement and/or applicable law (including setoff, recoupment and

         indemnification) shall not be affected, modified, waived or impaired in any way and are

         expressly preserved and reserved, while recognizing that Comenity is not now claiming nor shall

         it in the future claim that David Bridal’s filing for bankruptcy on November 19, 2018 constituted

         a default of the Program Agreement;

                        (b)    within fourteen (14) business days after Effective Date, David’s shall

         cause the issuance of a letter of credit on commercially reasonable terms for the benefit of

         Comenity in the amount of $3 million and in form and substance reasonably acceptable to

         Comenity and David’s (the “LC”) as adequate assurance and to protect Comenity in connection

         with any cardholder dispute and/or failure of a cardholder to pay amounts due Comenity arising

         from or related to the fact that the past or future underlying transaction was a Pre-Funded Special

         Order. A “Pre-Funded Special Order” is a purchase of merchandise in which the cardholder

         does not receive such merchandise at the time of the transaction. The LC shall be issued pursuant

         to and in accordance with the terms of the Exit ABL Facility. David’s will ensure the LC (or a

         renewed or replacement letters of credit of equivalent amount and terms) remains in place until

         the date that is six (6) months after the termination or expiration of the Program Agreement’s

         term, as such term may be extended from time to time. For the avoidance of doubt, if the LC is

         not received by Comenity within fourteen (14) business days after the Effective Date, then the

         failure to deliver the LC shall be an event of default under the Program Agreement;


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                        (c)     David’s processing of Pre-Funded Special Orders shall not be treated as a

         default of the Program Agreement or Comenity’s Operating Procedures so long as the LC

         remains in full force and effect; and

                        (d)     Except as set forth in this paragraph 59, nothing in the Plan or this Order

         shall affect any liability or defenses thereto of David’s for obligations and amounts coming due

         at any time under the Program Agreement, and David’s rights are fully preserved in respect

         thereof.

                        60.     Notice of Entry of Confirmation Order.         On or before the 14th day

         following the date of entry of this Order, the Debtors shall serve notice of entry of this Order

         (which may be combined with the Notice of Effective Date (as defined below)) pursuant to

         Bankruptcy Rules 2002(f)(7), 2002(k) and 3020(c) on all known Creditors and Interest holders,

         the U.S. Trustee and other parties in interest, by causing notice of entry of this Order (the

         “Notice of Confirmation”) to be delivered to such parties by first-class mail, postage prepaid.

         The Debtors shall also post the Notice of Confirmation on the website maintained by Donlin,

         Recano & Company, Inc., at www.donlinrecano.com/davidsbridal (the “Case Website”). The

         notice described herein is adequate under the circumstances, and no other or further notice is

         necessary.

                        61.     Notice of Effective Date. On the Effective Date, the Debtors shall file a

         notice of the occurrence of the Effective Date (the “Notice of Effective Date”) with the

         Bankruptcy Court.     As soon as practicable after the occurrence of the Effective Date, the

         Reorganized Debtors shall serve the Notice of Effective Date on all holders of Claims and

         Interests, the U.S. Trustee, and other parties in interest, by causing the Notice of Effective Date




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         to be delivered to such parties by first-class mail, postage prepaid. The Reorganized Debtors

         shall also post the Notice of Effective Date on the Case Website.

                         62.     [RESERVED]

                         63.     Termination of the Restructuring Support Agreement. On the Effective

         Date, the Restructuring Support Agreement will terminate in accordance with Section 6 thereof.

                         64.     [RESERVED]

                         65.     Waiver of Section 341(a) Meeting. As of the Confirmation Date, the

         Section 341(a) Meeting has not been convened. The convening of the Section 341(a) Meeting is

         hereby waived in accordance with the Scheduling Order.

                         66.     Termination of Challenge Period. The time within which to commence a

         Challenge (as defined in the Final DIP Order) is terminated as of the date hereof, and the

         stipulations, admissions, findings, and release contained in the Final DIP Order shall be binding

         on the Debtors’ estates and all parties in interest.

                         67.     Final Order. This Order is a final order and the period in which an appeal

         must be filed shall commence upon the entry hereof.

                         68.     Inconsistency. To the extent of any inconsistency between this Order and

         the Plan, this Order shall govern.

                         69.     No Stay of Confirmation.         The requirements under Bankruptcy Rule

         3020(e) that an order confirming a plan is stayed until the expiration of 14 days after entry of the

         order are hereby waived. This Order shall take effect immediately and shall not be stayed

         pursuant to Bankruptcy Rules 3020(e), 6004(g), 6006(d), 7062 or otherwise.

                         70.     No Waiver. The failure to specifically include any particular provision of

         the Plan in this Order shall not diminish the effectiveness of such provision nor constitute a


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         waiver thereof, it being the intent of the Bankruptcy Court that the Plan is confirmed in its

         entirety.




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                Wilmington, Delaware                        UNITED STATES BANKRUPTCY JUDGE

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